Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 1 of 137




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-2989-MDL-ALTONAGA/Torres

     IN RE:

     JANUARY 2021 SHORT SQUEEZE
     TRADING LITIGATION
     ____________________________________/

     This Document Relates to:

     ALL ANTITRUST ACTIONS

                     CORRECTED CONSOLIDATED CLASS ACTION COMPLAINT

                                  [PARTIALLY UNREDACTED VERSION]




     
      Pursuant to the Court's Order dated July 27, 2021 [ECF No. 362], the Antitrust Plaintiffs file this
     partially unredacted Corrected Class Action Complaint. This Corrected Class Action Complaint is
     otherwise identical in all respects to the complaint filed on August 23, 2021 [ECF No. 388].

                                                         i
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 2 of 137




                                                           TABLE OF CONTENTS

                                                                                                                                              Page(s)
     INTRODUCTION ...........................................................................................................................
     JURISDICTION AND VENUE......................................................................................................
     PARTIES .........................................................................................................................................
     A.         Plaintiff Angel Guzman ......................................................................................................

     B.         Plaintiff Burke Minahan......................................................................................................

     C.         Plaintiff Christopher Miller .................................................................................................

     D.         Plaintiff Terell Sterling ........................................................................................................

     E.         Introducing Brokerage Defendants .....................................................................................

     F.         Self-Clearing Brokerage Defendants .................................................................................

     G.         Market Maker Defendants .................................................................................................

     H.         Clearing Defendants ...........................................................................................................

     AGENTS AND CO-CONSPIRATORS .........................................................................................
     CLASS ALLEGATIONS ...............................................................................................................
     FACTUAL ALLEGATIONS..........................................................................................................
     CLAIMS FOR RELIEF ...............................................................................................................
     PRAYER FOR JUDGMENT .......................................................................................................
     JURY TRIAL DEMANDED........................................................................................................




                                                                              ii
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 3 of 137




           Plaintiffs Angel Guzman, Burke Minahan, Christopher Miller, and Terell Sterling, on

    behalf of themselves and all others similarly situated, bring this Class Action Complaint against

    Defendants for violations of Section 1 of the Sherman Act, 15 U.S.C. § 1.

                                           INTRODUCTION

           1.      This case is about individual investors (the “Retail Investors”) who invested their

    hard-earned money in the stock market and were stripped of their rights to control their own

    investments. Defendants and other market players hatched an anticompetitive scheme to restrict

    Retail Investors’ access to the stock market and prevent the market from operating freely and

    fairly. Defendants did so to protect each other, and to stop the hemorrhaging losses incurred by

    the Market Maker Defendants as a result of their accumulation of large short positions.

           2.      Retail Investors are individual investors who make investments on their own

    behalf. Retail Investors purchase securities such as stocks, bonds, options, mutual funds, and

    exchange traded funds (ETFs). They execute their personal trades through websites, apps and

    trading platforms provided by brokerage firms or other investment service providers. Retail

    Investors tend to invest smaller amounts, as compared to institutional investors, and have little

    ability to influence market prices or market dynamics on their own.

           3.      Historically, Retail Investors paid a fee or commission to their brokerages for

    executing personal trades. Today, most brokerages do not charge their investors a fee per

    transaction, rather, they earn revenue through rebates, kickbacks and other payments from

    market makers. These payments are collectively known as payment for order flow.

           4.      When a Retail Investor places a trade through a brokerage such as Robinhood, the

    brokerage routes the order to a market maker for processing and execution. When a market

    maker executes an order, it makes a profit on the spread between the “bid” price, the price at




                                                     1
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 4 of 137




    which a market maker is willing to buy a security, and the “ask” price, the price at which a

    market maker is willing to sell the security. While the market maker typically earns a modest

    amount on each share of an order it fulfills, by processing a vast number of orders, market

    makers can earn a substantial profit.

            5.       For every order, there must be a buyer and a seller. Market makers, through a

    process called “internalization,” typically will take the other side of a transaction for orders

    routed to them. For example, if a buy order is routed to a market maker and there is no sell order

    available, market makers execute the order, either by selling a security in its inventory or by

    selling short.

            6.       Leading up to January 27, 2021, based on their research and observations, the

    Retail Investors, through stock brokerages, including the Brokerage Defendants, invested in

    certain stocks—GameStop (GME), AMC Entertainment (AMC), Bed Bath & Beyond (BBBY),

    BlackBerry (BB), Express (EXPR), Koss (KOSS), Nokia (NOK), Tootsie Roll Industries (TR),

    and Trivago NV (TRVG) (the “Relevant Securities”)—that they believed would increase and

    serve as good investment opportunities.

            7.       As more Retail Investors bought the Relevant Securities and these orders were

    routed to market makers, such as Citadel Securities LLC (“Citadel Securities”), the market

    makers acquired substantial short positions in the Relevant Securities, and were thus exposed to

    massive potential losses as the prices of the Relevant Securities increased.

            8.       “Short” sellers borrow securities believing that that price of the securities will

    decrease. If the price of the security in fact drops, a short seller buys the security back at a lower

    price and returns it to the lender. The difference between the sell price and the buy price is the




                                                       2
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 5 of 137




    profit. Short sellers essentially bet on a security’s failure or decline rather than its success or

    increase.

            9.      Along with market makers such as Citadel Securities, several large hedge funds

    and investment firms, including Maplelane Capital, LLC, Melvin Capital Management LP, and

    others, established massive short positions in the Relevant Securities.

            10.     In so doing, the hedge funds, market makers, and other unnamed co-conspirators

    made highly speculative bets. When the Relevant Securities increased in value, due in large part

    to Retail Investors purchasing the Relevant Securities, hedge funds were exposed to massive

    potential losses of several billion dollars.

            11.     As more Retail Investors bought the Relevant Securities, those orders were routed

    to Citadel Securities through the Brokerage Defendants. Citadel Securities took the other side of

    the buy orders placed by the Retail Investors, i.e., Citadel Securities sold the Relevant Securities

    short in order to complete the routed retail investors’ orders. Citadel Securities, as it took the

    other side of more and more buy orders, acquired a substantial short position in the Relevant

    Securities, and was similarly exposed to massive potential losses.

            12.     As Retail Investors and others continued to purchase the Relevant Securities, the

    hedge funds, Clearing Defendants, Citadel Securities and unnamed co-conspirators were caught

    in a classic “short squeeze.” A “short squeeze” occurs when a stock or other asset rises sharply in

    value, distressing short positions. Short selling investors are faced with a rapid increase in the

    shorted asset’s value, exposing the short seller to increased and theoretically limitless loss. As the

    price of the asset rises, short sellers face pressure to buy back stock to exit their short positions to

    mitigate their losses. In the absence of intervention, as short sellers exit their short positions to




                                                       3
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 6 of 137




    buy back stocks to cover their shorts, their repurchase of stock further increases the price of the

    stock, compounding their losses.

           13.     On January 27, 2021, Citadel Securities executed short trades in the Relevant

    Securities in the after-hours session to develop larger short positions in the Relevant Securities in

    anticipation of the Relevant Securities declining in price on January 28, 2021.

           14.     The Brokerage Defendants, along with Citadel Securities and the Clearing

    Defendants (collectively, “Defendants”) conspired to prevent the Retail Investors from

    purchasing shares of the Relevant Securities. On January 28, 2021, the Brokerage Defendants

    disabled all buy features for the Relevant Securities on their platforms thereby stripping the

    demand-side and halting the price appreciation in the Relevant Securities. Defendants’ action

    drove the stock prices down and forced Retail Investors to sell shares of their Relevant

    Securities. At the point in time where the Brokerage Defendants engaged in this conspiratorial

    effort to thwart buyers, the Relevant Securities had appreciated to unprecedented levels. Such

    highly appreciated stocks are generally sensitive to reversals in price and can make sharp price

    movements lower when a reversal occurs. Defendants were aware of this dynamic and the

    propensity of the Relevant Securities to drop substantially as a result of the Defendants’

    collective action to prevent customers from buying the Relevant Securities.

           15.     In furtherance of the conspiracy, the Brokerage Defendants, operating trading

    platforms through websites and mobile applications—restricted Retail Investors from purchasing

    the Relevant Securities on their platforms and thereby halted the price appreciation in the

    Relevant Securities. This conduct predictably and foreseeably caused a loss of confidence in the

    Relevant Securities and an ensuing panic selloff by the Retail Investors. The Brokerage




                                                      4
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 7 of 137




    Defendants did this to ensure that the stock prices for the Relevant Securities did not appreciate

    further and would instead sharply decrease in furtherance of the conspiracy.

           16.      Defendants and their co-conspirators forced Retail Investors to choose between

    selling the Relevant Securities at a lower price or holding their rapidly declining positions in the

    Relevant Securities. Defendants did so with the propose of driving down the prices of the

    Relevant Securities. By forcing the Retail Investors to sell their Relevant Securities at lower

    prices than they otherwise would have, Defendants artificially constricted the price appreciation

    of the Relevant Securities, and reduced the price of the Relevant Securities that Retail Investors

    either sold or held below the prices that they would have otherwise obtained in a competitive

    market free of collusion.

                                     JURISDICTION AND VENUE

           17.      Plaintiffs bring this action on their own behalf as well on behalf of the members

    of the Class to recover damages, including treble damages, costs of suit, and reasonable

    attorneys’ fees arising from Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. §

    1, as well as any and all equitable relief afforded to them under the federal laws pleaded herein.

           18.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because

    the case arises under the Constitution, laws, or treaties of the United States.

           19.      This Court also has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1332(d)

    and 1367, in that this is a class action in which the matter or controversy exceeds the sum of

    $5,000,000, exclusive of interest and costs, and in which some members of the proposed Class

    are citizens of a state different from some Defendants.

           20.      Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391(b), (c) and

    (d), because a substantial part of the events giving rise to Plaintiffs’ claims occurred in this



                                                       5
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 8 of 137




    District, a substantial portion of the affected interstate trade and commerce was carried out in this

    District, and one or more of the Defendants reside in this District or are licensed to do business

    in this District. Each Defendant has transacted business, maintained substantial contacts, or

    committed overt acts in furtherance of the illegal scheme and conspiracy throughout the United

    States, including in this District. The conspiracy occurred in this judicial District. The conspiracy

    has been directed at, and has had the intended effect of, causing injury to persons residing in,

    located in, or doing business throughout the United States, including in this District.

           21.      This Court has personal jurisdiction over each Defendant because, each

    Defendant: (a) transacted business throughout the United States, including in this District; (b)

    transacted in substantial amounts of the Relevant Securities throughout the United States; (c) had

    substantial contacts with the United States, including this District; and/or (d) engaged in an

    antitrust conspiracy that was directed at and had a direct, foreseeable, and intended effect of

    causing injury to the business or property of persons residing in, located in, or doing business

    throughout the United States, including in this District.

           22.      The activities of the Defendants and all co-conspirators—whether unnamed or as

    of yet unknown—as described herein, were within the flow of, were intended to, and did have

    direct, substantial, and reasonably foreseeable effects on the foreign and interstate commerce of

    the United States.

                                                 PARTIES

       A. Plaintiff Angel Guzman

           23.      Plaintiff Angel Guzman (“Guzman”) is a resident of the State of New York.

    Guzman purchased shares of BlackBerry Ltd., GameStop Corp., and Nokia Corp. on Robinhood

    and held said shares as of the close of market on January 27, 2021.



                                                      6
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 9 of 137




           24.     On January 28, 2021, Guzman was prohibited from purchasing the Relevant

    Securities on Robinhood due to the anticompetitive conduct alleged herein.

           25.     Consequently, on January 28, 2021, in an effort to purchase the Relevant

    Securities, Guzman applied for an account with Charles Schwab (“Schwab”) because Schwab

    was not prohibiting its customers from purchasing the Relevant Securities. Yet, on January 28,

    2021, Guzman was unable to purchase any of the Relevant Securities on Schwab due to the

    amount of time required to open the account.

           26.     From January 29, 2021 through February 4, 2021, Guzman was subject to the

    trading limitations Robinhood imposed on certain of the Relevant Securities.

           27.     As a result of the anticompetitive conduct alleged herein, Guzman sold shares of

    BlackBerry Ltd., GameStop Corp., and Nokia Corp. on Robinhood during the Class Period.

       B. Plaintiff Burke Minahan

           28.     Plaintiff Burke Minahan (“Minahan”) is a resident of the State of Minnesota.

    Minahan purchased shares of BlackBerry Ltd., GameStop Corp., and Nokia Corp. on Robinhood

    and held said shares as of the close of market on January 27, 2021.

           29.     On January 28, 2021, Minahan was prohibited from purchasing the Relevant

    Securities on Robinhood as a result of the anticompetitive conduct alleged herein.

           30.     Consequently, on January 28, 2021, in an effort to purchase the Relevant

    Securities, Minahan applied for an account with Fidelity because Fidelity was not prohibiting its

    customers from purchasing the Relevant Securities. Minahan was subsequently able to purchase

    a share of GameStop Corp. on Fidelity that day.

           31.     From January 29, 2021 through February 4, 2021, Minahan was subject to the

    trading limitations Robinhood imposed on certain of the Relevant Securities.



                                                      7
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 10 of 137




           32.     As a result of the anticompetitive conduct described herein, Minahan sold shares

    of BlackBerry Ltd., GameStop Corp. and Nokia Corp. on Robinhood during the Class Period.

       C. Plaintiff Christopher Miller

           33.     Plaintiff Christopher Miller (“Miller”) is a resident of the State of Kansas. Miller

    purchased shares of GameStop Corp. on Robinhood and held said shares as of the close of

    market on January 27, 2021.

           34.     On January 28, 2021, Miller was prohibited from purchasing the Relevant

    Securities on Robinhood due to the anticompetitive conduct described herein.

           35.     Consequently, on January 28, 2021, in an effort to purchase the Relevant

    Securities, Miller applied to open accounts with Fidelity and TD Ameritrade (“TD”), because

    these firms were not prohibiting their customers from purchasing the Relevant Securities. Yet, on

    January 28, 2021, Miller was unable to purchase any of the Relevant Securities on Fidelity or TD

    due to the amount of time required to setup the accounts.

           36.     From January 29, 2021 through February 4, 2021, Miller was subject to the

    trading limitations Robinhood imposed on certain of the Relevant Securities.

           37.     As a result of the anticompetitive conduct alleged herein, Miller sold shares of

    GameStop on Robinhood during the Class Period.

       D. Plaintiff Terell Sterling

           38.     Plaintiff Terell Sterling (“Sterling”) is a resident of the State of California.

    Sterling purchased shares of AMC Entertainment Holdings, Inc., BlackBerry Ltd., GameStop

    Corp. on Robinhood and held said shares as of the close of market on January 27, 2021.

           39.     On January 28, 2021, Sterling was prohibited from purchasing the Relevant

    Securities on Robinhood due to the anticompetitive conduct described herein.



                                                      8
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 11 of 137




           40.      From January 29, 2021 through February 4, 2021, Sterling was subject to the

    trading limitations Robinhood imposed on certain of the Relevant Securities.

           41.      As a further result of the anticompetitive conduct alleged herein, Sterling sold

    shares of AMC Entertainment Holdings, Inc., BlackBerry Ltd. and GameStop Corp. on

    Robinhood during the Class Period.

       E. Introducing Brokerage Defendants

                 a. Defendant Ally Financial Inc.

           42.      Defendant Ally Financial Inc. (“Ally”) is a Delaware corporation, with its

    headquarters located at Ally Detroit Center 500, Woodward Ave., Floor 10, Detroit, Michigan.

    Ally provides financial services including an electronic trading platform to trade financial assets.

    During the relevant period, Ally restricted and/or otherwise limited the ability of investors to

    purchase the Relevant Securities. At all relevant times stated herein, Apex Clearing Corporation

    served as Ally’s clearing firm.

                 b. Defendant Alpaca Securities LLC

           43.      Defendant Alpaca Securities LLC (“Alpaca”) is a Delaware limited liability

    company, with its headquarters at 20 N. San Mateo Drive Suite 10, San Mateo, California.

    Alpaca provides financial services including an electronic trading platform to trade financial

    assets. During the relevant period, Alpaca restricted and/or otherwise limited the ability of

    investors to purchase the Relevant Securities. At all relevant times stated herein, Electronic

    Transaction Clearing served as Alpaca’s clearing firm.

                 c. Defendant Dough

           44.      Defendant Dough LLC (“Dough”) is a Delaware limited liability company and

    wholly-owned subsidiary of Tastytrade, Inc., with its headquarters located at 327 N. Aberdeen



                                                     9
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 12 of 137




    Street, Chicago, Illinois. Dough provides financial services including an electronic trading

    platform to trade financial assets. During the relevant period, Dough restricted and/or otherwise

    limited the ability of investors to purchase the Relevant Securities. At all relevant times stated

    herein, Apex Clearing Corporation served as Dough’s clearing firm.

                 d. Defendant Public.com

           45.      Defendant Open To The Public Investing, Inc. (“Public.com”) is a New York

    corporation and wholly-owned subsidiary of Public Holdings Inc., headquartered at 1 State Street

    Plaza, 10th Floor, New York, New York.

           46.      Public.com provides financial services including an electronic trading platform to

    trade financial assets. During the relevant period, Public.com restricted and/or otherwise limited

    the ability of investors to purchase the Relevant Securities. At all relevant times stated herein,

    Apex Clearing Corporation served as Public.com’s clearing firm.

                 e. Defendant SoFi

           47.      Defendant SoFi Securities LLC (“SoFi”) is a New York limited liability company

    headquartered at 234 1st Street, Building A, Suite 4700, San Francisco, California. SoFi provides

    financial services including an electronic trading platform to trade financial assets. During the

    relevant period, SoFi restricted and/or otherwise limited the ability of investors to purchase the

    Relevant Securities. At all relevant times stated herein, Apex Clearing Corporation served as

    SoFi’s clearing firm.

                 f. Defendant Tastyworks

           48.      Defendant Tastyworks, Inc. (“Tastyworks”) is a Delaware corporation and

    wholly-owned subsidiary of Tastytrade, Inc., headquartered at 1000 West Fulton Market Street,

    Suite 220, Chicago, Illinois.



                                                     10
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 13 of 137




           49.      Tastyworks provides financial services including an electronic trading platform to

    trade financial assets. During the relevant period, Tastyworks restricted and/or otherwise limited

    the ability of investors to purchase the Relevant Securities. At all relevant times stated herein,

    Apex Clearing Corporation served as Tastyworks clearing firm.

                 g. Defendant Webull

           50.      Defendant Webull Financial LLC (“Webull”) is a Delaware limited liability

    company headquartered at 44 Wall Street, Ste. 501, New York, New York. Webull provides

    financial services including an electronic trading platform to trade financial assets. During the

    relevant period, Webull restricted and/or otherwise limited the ability of investors to purchase the

    Relevant Securities. At all relevant times stated herein, Apex Clearing Corporation served as

    Webull’s clearing firm.

       F. Self-Clearing Brokerage Defendants

                 a. Defendant E*Trade

           51.      Defendant E*Trade Securities LLC is a Delaware limited liability company, with

    its headquarters at 671 North Glebe Road, Ballston Tower, Arlington, Texas.

           52.      Defendant E*Trade Financial Holdings, LLC is a Delaware limited liability

    company, with its headquarters at 671 North Glebe Road, Ballston Tower, Arlington, Texas.

           53.      During the relevant period, E*Trade restricted and/or otherwise limited the ability

    of investors to purchase the Relevant Securities.

           54.      At all relevant times stated herein, E*Trade acted as a self-clearing broker.

                 b. Defendant Interactive Brokers

           55.      Defendant Interactive Brokers LLC (“Interactive Brokers”) is a Delaware limited

    liability company headquartered at 1 Pickwick Plaza, Greenwich, Connecticut. Interactive



                                                     11
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 14 of 137




    Brokers provides financial services including an electronic trading platform to trade financial

    assets. During the relevant period, Interactive Brokers restricted and/or otherwise limited the

    ability of investors to purchase the Relevant Securities.

              56.      At all relevant times stated herein, Interactive Brokers acted as a self-clearing

    broker.

                    c. Defendant Robinhood

              57.      Defendant Robinhood Markets, Inc. is a Delaware corporation with its principal

    place of business at 85 Willow Road, Menlo Park, California. Defendant Robinhood Markets,

    Inc. is the corporate parent of and manages, controls and directs the affairs of Defendants

    Robinhood Financial LLC and Robinhood Securities, LLC.

              58.      Defendant Robinhood Financial LLC is a Delaware limited liability company

    with its principal place of business at 85 Willow Road, Menlo Park, California. It is a wholly-

    owned subsidiary of Robinhood Markets, Inc.

              59.      Robinhood Financial LLC provides financial services including an electronic

    trading platform to trade financial assets.

              60.      Defendant Robinhood Securities, LLC is a Delaware limited liability company

    with its principal place of business at 500 Colonial Center Parkway, Suite 100, Lake Mary,

    Florida. It is a wholly owned subsidiary of Robinhood Markets, Inc.

              61.      Defendant Robinhood Securities, LLC, Robinhood Financial LLC and

    Robinhood Markets, Inc. are collectively referred to herein as “Robinhood.”

              62.      During the relevant period, Robinhood restricted and/or otherwise limited the

    ability of investors to purchase the Relevant Securities.

              63.      At all relevant times stated herein, Robinhood acted as a self-clearing broker.



                                                        12
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 15 of 137




       G. Market Maker Defendants

                 a. Defendant Citadel Securities

           64.        Defendant Citadel Securities LLC is a Delaware limited liability company,

    headquartered at 131 South Dearborn Street, Chicago, Illinois.

           65.        Citadel Securities took short positions in the Relevant Securities. During the

    relevant period, Citadel Securities actively participated in the conspiracy and the wrongful acts

    alleged herein.

       H. Clearing Defendants

                 a. Defendant Apex

           66.        Defendant Apex Clearing Corporation (“Apex”) is a New York corporation

    headquartered at One Dallas Center, 350 N. St. Paul, Suite 1300, Dallas, Texas.

           67.        Apex Clearing Holdings LLC and PEAK Investments LLC are the parent

    corporations of Apex.

           68.        During the relevant period, Defendant Apex participated in the conspiracy and the

    wrongful acts alleged herein.

                 b. Defendant ETC

           69.        Defendant Electronic Transaction Clearing, Inc. (“ETC”) is a Delaware

    Corporation located at 660 South Figueroa Street, Suite 1450, Los Angeles, California.

           70.        Apex Clearing Holdings LLC and PEAK Investments LLC are the parent

    corporations of ETC.

           71.        During the relevant period, Defendant ETC participated in the conspiracy and the

    wrongful acts alleged herein.

                 c. Defendant PEAK 6



                                                      13
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 16 of 137




           72.     Defendant PEAK6 Investments LLC (“PEAK6”) is a Delaware limited liability

    company located at 141 West Jackson Boulevard, Suite 500, Chicago, IL 60640.

           73.      During the relevant period, PEAK6 is the parent corporation of Apex and ETC.

           74.      PEAK6 exercised direction and control over Defendants Apex and ETC during

    the Relevant Period.

           75.      During the relevant period, Defendant PEAK6 participated in the conspiracy and

    the wrongful acts alleged herein.

                                 AGENTS AND CO-CONSPIRATORS

           76.      The anticompetitive and unlawful acts alleged against the Defendants in this class

    action complaint were authorized, ordered or performed by the Defendants’ respective officers,

    agents, employees, representatives, or shareholders while actively engaged in the management,

    direction, or control of the Defendants’ businesses or affairs. The respective Defendant parent

    entities identified herein exercise dominance and control over all of their respective Defendant

    subsidiary entities and those respective subsidiaries have a unity of purpose and interest with

    their respective parents.

           77.      To the extent any respective parent Defendant did not keep a tight rein on its

    respective subsidiary Defendant(s), it had the power to assert control over the subsidiary if the

    latter failed to act in the parent’s best interest. The respective parent Defendants and their

    respective subsidiaries, affiliates and agents thus operated as a single unified entity.

           78.      The Defendants’ agents operated under the explicit and apparent authority of their

    principals.

           79.      Various persons and/or firms not named as Defendants herein may have

    participated as co-conspirators in the violations alleged herein and may have performed acts and



                                                      14
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 17 of 137




    made statements in furtherance thereof.

           80.     Each Defendant acted as the principal, agent, or joint venture of, or for other

    Defendants with respect to the acts, violations, and common course of conduct alleged herein.

                                        CLASS ALLEGATIONS

           81.     Plaintiffs bring this action for damages on behalf of themselves and all others

    similarly situated as a class action pursuant to Rules 23(a), (b)(2) and (b)(3) of the Federal Rules

    of Civil Procedure, on behalf of the following Class:

           All persons or entities in the United States that held shares of stock or call options in
           GameStop Corp. (GME), AMC Entertainment Holdings Inc. (AMC), Bed Bath &
           Beyond Inc. (BBBY), BlackBerry Ltd. (BB), Express, Inc. (EXPR), Koss Corporation
           (KOSS), Nokia Corp. (NOK), Tootsie Roll Industries, Inc. (TR), or Trivago N.V. (TRVG)
           as of the close of market on January 27, 2021, and sold the above-listed securities from
           January 28, 2021 up to and including February 4, 2021 (the “Class Period”).
           82.      This Class definition specifically excludes the following person or entities:

                   a.      any of the Defendants named herein;

                   b.      any of the Defendants’ co-conspirators;

                   c.      any of Defendants’ parent companies, subsidiaries, and affiliates;

                   d.      any of Defendants’ officers, directors, management, employees, or agents;

                   e.      all governmental entities; and

                   f.      the judges and chambers staff in this case, as well as any members of their

                           immediate families.

           83.     Plaintiffs do not know the exact number of Class members, because such

    information is in the exclusive control of Defendants. Plaintiffs are informed and believe that,

    due to the nature of the trade and commerce involved, there are millions of Class members

    geographically dispersed throughout the United States and elsewhere, such that joinder of all

    Class members in the prosecution of this action is impracticable.



                                                     15
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 18 of 137




           84.     Plaintiffs’ claims are typical of the claims of their fellow Class members because

    Plaintiffs and all Class members were damaged by the same wrongful conduct of Defendants as

    alleged herein, and the relief sought herein is common to all members of the Class.

           85.     Plaintiffs will fairly and adequately represent the interests of the Class. Plaintiffs

    have no conflicts with any other members of the Class. Furthermore, Plaintiffs have retained

    sophisticated and competent counsel who is experienced in prosecuting antitrust class actions, as

    well as other complex litigation.

           86.     Numerous questions of law or fact common to the entire Class—including, but

    not limited to those identified below—arise from Defendants’ anticompetitive and unlawful

    conduct:

           a.      whether Defendants combined or conspired with one another to artificially

                   suppress prices for the Relevant Securities at any time during the Class Period to

                   shareholders of the Relevant Securities in the United States;

           b.      whether Defendants combined or conspired with one another to fix, raise,

                   maintain, stabilize and/or suppress prices for Relevant Securities at any time

                   during the Class Period to shareholders of the Relevant Securities in the United

                   States;

           c.      whether Defendants’ conduct caused the prices of the Relevant Securities, sold or

                   held by the Retail Investors in the United States at any time during the Class

                   Period to be artificially fixed, suppressed, maintained or stabilized; and

           d.      whether Plaintiffs and the other members of the Class were injured by

                   Defendants’ conduct and, if so, the appropriate Class-wide measure of damages.

           87.     These and other questions of law and fact are common to the Class and



                                                     16
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 19 of 137




    predominate over any questions affecting the Class members individually.

            88.     Defendants have acted on grounds generally applicable to the Class. This class

    action is superior to alternatives, if any, for the fair and efficient adjudication of this controversy.

    Prosecuting the claims pleaded herein as a class action will eliminate the possibility of repetitive

    litigation. There will be no material difficulty in the management of this action as a class action.

            89.     The prosecution of separate actions by individual Class members would create

    the risk of inconsistent or varying adjudications, establishing incompatible standards of conduct

    for Defendants.

                                        FACTUAL ALLEGATIONS

            90.     Many of the Retail Investors regularly participate in online financial discussion

    forums, including but not limited to Reddit, Facebook, and TikTok. Through these forums, and

    elsewhere, Retail Investors are able to share information about their market observations and

    help fellow members of these online forums to benefit from their research. During the Relevant

    Period, Retail Investors communicated and exchanged information regarding the Relevant

    Securities, among other things.

            91.     Based on their research, the Retail Investors, through SEC registered broker-

    dealers, such as the Brokerage Defendants, purchased the Relevant Securities.

            92.     The Market Maker Defendants, hedge funds, and unnamed co-conspirators

    established “short” positions in the Relevant Securities. By the nature of the developed short

    positions, the Market Maker Defendants, hedge funds, Clearing Defendants, and certain

    unnamed co-conspirators, stood to benefit and substantially profit were the prices of the Relevant

    Securities to decrease. Entering into short positions is highly speculative. In a free and open

    market, there would be substantial financial risk that prices might increase causing traders with



                                                       17
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 20 of 137




    short positions to experience losses.

           93.      The Market Maker Defendants, hedge funds, Clearing Defendants, and unnamed

    co-conspirators found themselves poorly positioned for the rise in Relevant Securities prices that

    occurred in late January 2021. As Relevant Securities increased in price, Market Maker

    Defendants were exposed to billions of dollars in losses, exposing the Clearing Defendants to

    increased collateral requirements if Robinhood were to fail.

           94.      Rather than facing the consequences of their exposure to rising Relevant

    Securities’ prices, the Market Maker Defendants, Clearing Defendants, Brokerage Defendants

    and their co-conspirators entered into an anticompetitive scheme to prevent the market from

    operating freely, to halt the significant increase in the prices of the Relevant Securities, to avoid

    their own financial losses and reduced profits, and to cause financial losses to Plaintiffs and the

    members of the Class.

                                            Role of Participants

           95.      There are numerous participants in the securities market who serve different

    roles. A brief explanation of some of these players and their roles is below.

                              The Depository Trust & Clearing Corporation

           96.      The Depository Trust & Clearing Corp. (“DTCC”) is a holding company that

    owns and operates three clearing agencies that are registered with the U.S. Securities and

    Exchange Commission (“SEC”) under the Securities and Exchange Act of 1934: National

    Securities Clearing Corp. (“NSCC”), Fixed Income Clearing Corporation (“FICC”) and The

    Depository Trust Company (“DTC”).

           97.      The DTCC is a member owned and governed entity. Its members include, among

    others, Clearing Defendants Apex and ETC, as well as Brokerage Defendants E*Trade,



                                                      18
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 21 of 137




    Interactive Brokers, and Robinhood.

           98.      NSCC is the central counterparty (CCP) that clears cash transactions in the U.S.

    equities markets, netting securities deliveries and payments among NSCC’s clearing members

    and guaranteeing completion of trades even if one party to the transaction defaults.

           99.      On May 6, 2021, Michael C. Bodson (“Bodson”), the CEO of the DTCC, testified

    before the U.S. House Committee on Financial Services and explained that:

                   The U.S. Markets are multi-layered, and customers generally execute
                   trades through one or more brokers or broker-dealers. NSCC direct
                   clearing members are responsible for completing their customers’
                   trades at the NSCC. NSCC’s rules outline clear financial and
                   operation risk management obligations that apply to direct clearing
                   members.


           100.     When an investor purchases a security, the transaction is not instantaneous, and

    instead takes time to settle and clear.

           101.     Once the trade is executed, the trade information is relayed to the NSCC for

    clearing services. Securities trades submitted to the NSCC settle at the end of the second

    business day after submission, in what is known as T+2 settlement. This means that when an

    investor executes into a trade on a Monday, the cash and the securities related to that trade are

    electronically transferred on Wednesday.

           102.     The NSCC’s stated purpose is to reduce the cost, settlement risk, and operational

    risk of clearing and settling multiple transactions among multiple parties. Between trade

    submission and settlement, NSCC guarantees all cleared trades among its members. If a clearing

    member defaults on its settlement obligations, NSCC guarantees the delivery of cash and

    securities to its non-defaulting members.




                                                     19
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 22 of 137




           103.    As explained by Bodson in his Congressional testimony, margin protects NSCC

    and all market participants against clearing member defaults, and margin requirements must be

    met by clearing members on a timely basis. NSCC’s margin requirements are rules-based and

    subject to regulatory review and approval. The NSCC collects clearing fund contributions, or

    margin, at the start of each day and intraday in volatile markets. According to Bodson, the rules

    for calculating on the contribution requirements and the timing of collection of these margin

    requirements are known to every member. Furthermore, according to Bodson, NSCC provides

    reporting tools, calculators and documentation that allow clearing members to monitor their risk

    in near real-time and estimate clearing fund contribution requirements. Bodson indicated that

    many clearing members have employed this information to build their own internal calculators

    and monitoring tools to aid them in risk management.

           104.    The internal communications at Robinhood over the period demonstrate that

    Robinhood’s staff did not use these tools in a proactive manner to anticipate the events of

    January 28, nor was there a consistent practice of tracking concentration levels relative to margin

    requirements. Robinhood did not utilize NSCC tools to conduct routine and rigorous risk

    assessment and scenario analysis of the Relevant Securities despite the significant role

    Robinhood played in providing services to traders that actively traded such securities.

                                       Independent Clearing Firms

           105.    An independent clearing firm handles the back-office details of securities

    transactions for broker-dealers (i.e., introducing brokers). An independent clearing firm executes

    and settles orders and maintains custody of securities and other assets. Essentially, the

    independent clearing firm handles the back-office operations behind making securities trades

    actually happen once a trade is submitted by an investor on an introducing broker’s website



                                                     20
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 23 of 137




    and/or application. Independent clearing firms are also responsible for maintaining the

    paperwork associated with the clearing and executing of a transaction.

            106.    Independent clearing firms have several revenue streams. Independent clearing

    firms receive interest on uninvested user cash. Additionally, independent clearing firms generate

    revenue by lending the stock owned by individual investors to other traders. When one broker or

    dealer lends securities to another, the borrower pays collateral slightly higher than their market

    value along with a fee. Both of these streams represent revenue-generating opportunities for the

    independent clearing firms.

            107.    As described below, independent clearing firms also generate a significant

    portion of their revenue from payment for order flow.

            108.    Apex and ETC are independent clearing firms. Operating independently, each of

    these firms is supervised by the Financial Industry Regulatory Authority (“FINRA”) and each

    serve as clearing agents for introducing brokers that do not have clearing capacity on their own.

            109.    Apex serves as the independent clearing firm for Ally, Dough, Public.com, Sofi,

    Stash, Tastyworks and Webull, while ETC serves as the clearing firm for Alpaca.

            110.    Independent clearing firms, including Apex and ETC, are members of the DTCC

    and therefore subject to its rules and regulations.

                                            Introducing Brokers

            111.    An introducing broker is a broker-dealer that contracts with an independent

    clearing firm to handle the execution and settlement of orders that the introducing firm receives

    from its clients or its own trading desk to buy and sell securities. The introducing broker’s

    independent clearing firm, not the introducing broker, receives payments and maintains custody

    of the securities.



                                                     21
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 24 of 137




           112.     Ally, Alpaca, Dough, Public.com, Sofi, Stash, Tastyworks and Webull are all

    introducing brokers.

                                           Self-Clearing Brokers

           113.     A self-clearing broker is likewise an introducing broker, but in addition to

    handling orders to buy and sell securities, a self-clearing broker also acts as its own clearing firm

    in that it executes and settles orders and maintains custody of securities and other assets. Self-

    clearing brokers are also responsible for maintaining the paperwork associated with the clearing

    and executing of a transaction.

           114.     Robinhood began as an introducing broker, clearing customer assets through

    Apex. As customer growth surged, Robinhood announced in 2018 that it received regulatory

    approval to become a self-clearing broker and did so.

           115.     Other self-clearing brokers include E*Trade and Interactive Brokers, and non-

    defendants Fidelity and Vanguard.

           116.     Each self-clearing broker is a member of the DTCC and therefore subject to its

    rules and regulations.

           117.     Under Rule 15c3-l, a broker-dealer is required to “at all times have and maintain

    net capital” no less than the greatest of the minimum requirement applicable to its business. The

    rule is designed to require a broker-dealer to maintain sufficient liquid assets to meet all

    obligations to customers and counterparties and have adequate additional resources to wind

    down its business in an orderly manner without the need for a formal proceeding if the firm fails

    financially. All broker-dealers have the ability, using the NSCC’s reporting tools, calculators and

    documentation and internally developed calculators and monitoring tools, to inform themselves

    in real time of their anticipated daily DTCC deposit requirements.



                                                     22
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 25 of 137




                                                Market Makers

            118.    Market makers are market participants who provide bid prices (i.e., the price

    investors are willing to purchase at) and ask prices (i.e., the price investors are willing to sell at)

    for securities. The difference between the two is known as the “spread.” Market makers maintain

    an inventory of securities from their own trading and match incoming buy and sell orders in

    order to fill those orders. Once an order is filled, the spread is pocketed by the market maker as

    profit. These spreads can be very small (e.g., under even a penny per transaction) but becomes

    significant due to the very large volume of orders filled.

            119.    Market makers are typically large financial technological firms that rely on

    sophisticated software and algorithms.

            120.    Many market makers are now entirely automated and are high-frequency trading

    (“HFT”) firms. HFT firms are computerized and rely on software and data access to connect with

    markets with minimal latency or delay. Low latency, or a relatively short time that elapses from

    the moment a signal is sent to its receipt, is important for HFT market makers as it permits

    arbitrage strategies. Price differences in the bid and offer prices of a security may fluctuate in

    milliseconds, so latency is crucial for a HFT to quickly react in order to maximize potential

    profits. Citadel Securities is an example of one of these firms.

            121.    Market makers may also make trades for their own accounts.

            122.    Orders placed through brokerages may be routed to a market maker for

    execution.

            123.    A market maker may execute an order routed to it by broker by taking the other

    side of the transaction, a process known as “internalization.”

            124.    For example, if a market maker receives an order to buy a certain security, it may



                                                      23
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 26 of 137




    route that order to an exchange or it may execute the orders off-exchange in its capacity as a

    dealer by transacting against the buy orders with contra-side sell order, either from its own

    inventory or by selling the security short.

                                         How an Order is Executed

           125.     Each of the players may play a role in how an order is executed.

           126.     If a Retail Investor places a buy order through a retail broker—such as the

    Introducing Brokerage Defendants or the Self-Clearing Brokerage Defendants—the retail broker

    might route the order through its Smart Order Router (“SOR”) to execute the trade on one or

    more securities exchanges and other trading destinations where it is authorized to execute orders

    and where it deems it can meet its fiduciary duty of best execution.

           127.     If a retail broker has not invested in the technology, connectivity, and

    memberships required to effectively route orders through a SOR that can satisfy its duty of best

    execution, the retail broker typically routes to an executing broker that can provide the smart

    order routing services, such as Citadel Execution Services or G1 Execution Services.

           128.     Often the executing broker will operate an off-exchange market maker unit that is

    provided preferential access to the retail broker’s orders and executes a significant percentage of

    such orders for its own “book” as a dealer instead of routing the order to any exchange or trading

    destination. Often the market maker unit provides the retail broker with payment-for-order-flow

    to compensate the retail broker for providing it preferential access to the retail broker’s order.

    Furthermore, such arrangements typically do not charge the retail broker execution fees for

    orders directed to the market maker unit.

           129.     After a Self-Clearing Brokerage’s order is executed, the Self-Clearing Brokerage

    will send the details of the execution to the DTCC-affiliated clearinghouse entity (e.g., the



                                                     24
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 27 of 137




    NSCC) for clearinghouse and settling services. If, instead, the Introducing Brokerage does not

    self-clear, the Introducing Brokerage would instead route the details of the execution to an

    independent clearing firm such as Apex who would then send such details to the DTCC-affiliated

    entity for clearinghouse services.




                                                    25
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 28 of 137




                                                Background

           130.     As reported in the Financial Times, among other sources, Retail Investors’ market

    share of U.S. equity trading has steadily increased since 2019.




           131.     Credit Suisse estimated that at various times in 2021, Retail Investors accounted

    for a third of all U.S. stock market trading.

           132.     Retail Investors execute their personal trades through brokerage firms, such as the

    Brokerage Defendants that run online platforms from which Plaintiffs and other Retail Investors

    are able to buy and sell securities.

           133.     Due to their smaller trades, Retail Investors have traditionally paid higher fees

    and commissions. Many of the Brokerage Defendants, including Robinhood, represent to Retail



                                                     26
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 29 of 137




    Investors that they offer “commission-free” brokerage services to facilitate fair trading in the

    stock market. While these brokerages hold themselves out as free, the consumer incurs costs in

    other ways besides paying commissions. For example, while Robinhood users do not pay trade

    commissions, they pay a hidden price with each trade in the form of higher transaction costs as

    Robinhood earns revenue through rebates, kickbacks and other payments from market makers

    like Citadel Securities who compensate Robinhood for preferential access to Robinhood’s order

    flow.

            134.    When a Robinhood user executes a trade, the order is typically executed by an

    off-exchange market maker instead of being directly routed to a national securities exchange.

    Robinhood’s practice of selling its users’ orders to third parties is known as selling “order flow,”

    and Robinhood derives the majority of its profit from this practice. In Robinhood’s Form S-1

    dated July 1, 2021, Robinhood states “[b]ecause a majority of [Robinhood’s] revenue is

    transaction-based (including payment for order flow, or “PFOF”), reduced spreads in securities

    pricing, reduced levels of trading activity generally, changes in our business relationships with

    market makers and any new regulation of, or any bans on, PFOF and similar practices may result

    in reduced profitability, increased compliance costs and expanded potential for negative

    publicity.” Robinhood’s Form S1 is available at:

    https://www.sec.gov/Archives/edgar/data/1783879/000162828021013318/robinhoods-1.htm.

            135.    For example, if a Retail Investor purchases a share of stock through Robinhood,

    Robinhood sends the order to a large market maker like Citadel Securities and receives payment

    in return—i.e., the “payment for order flow” fees. Citadel Securities, meanwhile, makes money

    itself by executing an offsetting trade at a more favorable price than it transacted for the

    Robinhood user’s purchase, a practice known as “capturing the spread.” While the profit may be



                                                     27
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 30 of 137




    relatively small for an individual trade, the sheer number of trades sum to a significant value.

    Citadel Securities is Robinhood’s largest counterparty. In 2019, 29% of Robinhood’s revenue

    derived from transactions with Citadel Securities. For 2020, 34% of Robinhood’s revenue

    derived from transactions with Citadel Securities. Below is an excerpt from Robinhood’s Form

    S-1, where it details its revenues from market makers in “excess of 10% of total revenues”:




           136.    For Robinhood, the payment-for-order-flow compensation is a materially

    significant component of its revenue, with the mechanism of payment-for-order-flow effectively

    operating as a profit-sharing mechanism through which Citadel Securities compensates

    Robinhood for its order flow with profits extracted from such order flow by its market maker.

           137.    The SEC requires broker dealers to disclose how their customers’ orders are

    handled, including reporting the entities that handle their order flow, in what are known as Rule

    606 disclosures.

           138.    Robinhood is not the only Defendant that sells order flow.

           139.    Based upon Apex’s SEC Rule 606 filing, Apex directed order flow for 99.99% of

    all its “non-directed orders” in January 2021 for S&P 500 stocks and non-S&P 500 stocks.



                                                    28
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 31 of 137




           140.     Apex sent 23.26% of all “non-directed” order flow to Citadel Securities in S&P

    500 stocks and 13.26% of all “non-directed” order flow for non-S&P500 stocks to Citadel

    Securities in January 2021.

           141.     As mentioned above, Retail Investors exchange investment information via

    online discussion forums. Through these forums, as early as 2019, the Retail Investors developed

    the trading hypothesis that shares of GameStop’s (GME) stock were trading at lower prices than

    they should be based on GameStop’s publicly available financial disclosures and future

    prospects.

           142.     GameStop for example, despite being a brick-and-mortar store specializing in

    video games that can now be downloaded from a person’s home, possessed ample cash reserves,

    was regularly paying off its debts and was presented new opportunity with the release of the next

    generation of gaming platforms. Despite this, in 2019, shares of GameStop’s stock were trading

    as low as $3 per share. Some Retail Investors correctly deduced that GameStop was undervalued

    for a variety of reasons that included the observation that large financial institutions had taken

    large short positions that resulted in levels of short-interest that would bear significant costs if

    the outlook on GameStop improved and the short positions had to be exited. This was essentially

    a bet on GameStop’s failure by institutional investors that were significantly exposed to a

    potential “short squeeze” that could drive the stock sharply higher if the price of GameStop was

    challenged by any significant buying activity by well-capitalized market participants. Due to

    GameStop’s low share price and the belief that short-sellers were pressuring GameStop in a

    manner that maintained the stock at an artificially low price, these Retailer Investors determined

    GameStop represented a good investment opportunity.




                                                      29
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 32 of 137




           143.     In addition to GameStop, Retail Investors invested in the other Relevant

    Securities based on their own valuations and anticipated business performance.

           144.     For example, Retail Investors invested in Nokia (NOK) because Nokia, which

    had historically focused its business on the manufacture and sale of mobile phone handsets, had

    been expanding in other industries, including investing in 5G communication networks,

    including towers and other infrastructure.

           145.     Like other Retail Investors, Plaintiffs purchased “long” positions in the Relevant

    Securities.

           146.     In a free and open market, stock prices are determined by supply and demand and

    other market forces. Ordinarily, as more investors buy a certain stock, they tend to bid up the

    stock’s price, and the market price for the stock rises. Conversely, as investors sell stock, the

    stock price is bid down and the market price for the stock declines.

           147.     If an investor has long positions, it means that the investor has bought and owns

    those shares of stocks (in contrast to a short position, where the investor owes those stocks to

    someone, but does not actually own them yet). Investors holding long positions generally own

    the stock with the expectation that it will rise in value and it will be worth more than they paid

    for it. When the investor sells a long position, the profit or loss from the sale is the difference

    between the purchase price of the security and the sale price of the security.

           148.     Retail Investors took long positions in the Relevant Securities with the

    expectation that the stock would increase in value, generally because they believed that the

    respective companies’ business prospects were improving. Investors in the Relevant Securities

    generally believed they were good investment opportunities, and that prices of their securities




                                                      30
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 33 of 137




    would rise as can be expected when a market is operating freely, without fraud, conspiracy or

    manipulation.

           149.     Retail Investors have limited access to the stock market. Generally, Retail

    Investors must invest in the stock market through intermediaries such as the Brokerage

    Defendants.

           150.     Institutional investors on the other hand have considerably greater access to the

    stock market. They can invest directly, and those that are broker-dealers do not need to use other

    brokerages to execute their trades in securities.

           151.     Institutional investors also can trade on private stock exchanges that members of

    the public cannot access. These exchanges are known colloquially as “dark pools” or “dark

    exchanges” because of their lack of transparency and because they do not disseminate public

    quotations of securities prices.

           152.     Similarly, as market makers internalize trades they do so within their own dark

    trading operations, which are not accessible to the broader market.

           153.     Dark pools, which account for 40% of all U.S. stock trades, are vastly different

    from traditional or “lit” stock exchanges such as the New York Stock Exchange or NASDAQ. In

    a lit exchange, the order book including the price and amount an investor wants to trade is public

    and visible to all participants. Dark pools on the other hand do not display publicly how much an

    investor wants to buy or at what price. Stock purchased in a lit exchange can be sold on a dark

    exchange, and stock purchased in a dark exchange can be sold in a lit exchange.

           154.     While institutional investors can trade on both dark and lit exchanges, many

    prefer dark pools over “lit” exchanges because they can discreetly buy or sell securities in large

    blocks, even in the millions, while mitigating some of the price impact their buying or selling



                                                        31
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 34 of 137




    activity would otherwise have if they transacted on the “lit” national securities exchanges. Dark

    pools permit institutional investors to trade without visible exposure of their order to the market

    as a whole until after the trade has been executed. Furthermore, dark pools typically offer lower

    execution fees than national securities exchanges and may provide some access to retail order

    flow that market making units have decided not to internalize.

           155.     Institutional investors, including the hedge funds and unnamed co-conspirators,

    acquired massive “short” positions in the Relevant Securities.

           156.     As indicated above, “short” sellers essentially bet on an asset’s failure rather than

    its success. Short sellers borrow shares of a company that they believe will reduce in price, in the

    hope that once the share price falls, they might be able to buy the shares at a reduced price and

    return them to the lender. They pocket the difference. A short seller’s profit is the share value lost

    at the time a short seller “buys” a security versus the time when the short seller “borrows” the

    security. For example, a short seller might sell a share of a stock in Company X for $10 and then

    borrow a share of Company X (for a fee) from a broker for $10. The short seller immediately

    sells the share and hopes that the value of the share will drop. The share price then falls to $4.

    The short seller then purchases the share at the reduced value of $4 and returns it to the lender

    and earns the difference of $6 (less the fees incurred in borrowing the share). On the other hand,

    if the price of the share rises to $20, the short seller would need to purchase the share at $20 to

    return it to the lender, thereby incurring a loss of $10 on top of any fees incurred.

           157.     The more a stock price increases, the greater the loss to the short seller. The

    theoretical loss to a short investor who predicts wrongly is potentially infinite because there is no

    upper boundary on the price to which a company’s share price can rise. Should a short seller

    want to exit a short position in the face of rapidly increasing stock price, they must “buy back”



                                                     32
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 35 of 137




    the stock at the higher price to return to the institution they borrowed the share from. Risk from

    bad short selling investments is potentially catastrophic.

            158.    On the other hand, the loss to an investor who purchases a stock “long” is limited

    to the difference between the amount paid for the shares and the lowest price to which the stock

    can fall, which, of course, is zero.

            159.    As reported by the financial analytics firm S3, on January 4, 2021, GameStop’s

    peak short interest was 141.8% of its float (i.e., publicly tradable shares), which indicates that

    some short sellers were selling shares without either owning them or identifying an owner from

    whom shares could be borrowed. The practice of short selling without identifying a source from

    which they can be borrowed is an illegal practice known as “naked shorting.” In a “naked” short

    sale, a seller does not borrow or arrange to borrow the necessary securities in time to deliver

    them to the buyer within the standard two-day settlement period.

            160.    Naked short selling is illegal pursuant to SEC Regulation SHO, which requires

    broker-dealers “to identify a source of borrowable stock before executing a short sale in any

    equity security with the goal of reducing the number of situations where stock is unavailable for

    settlement.” The regulation is available at: https://www.sec.gov/investor/pubs/regsho.htm.

    Sometimes, however, the stock being borrowed may not be available from the lender at the time

    of settlement, possibly resulting in a fail to deliver.

            161.    Regulation SHO also requires firms that clear and settle trades to take action to

    close out failures to deliver by borrowing or purchasing securities of like kind and quantity. For

    short sale transactions, failures to deliver must be closed out by no later than the beginning of

    regular trading hours on the settlement day following the settlement date, referred to as T+4. For

    long sale transactions or bona fide market making activities, failures to deliver must be closed



                                                       33
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 36 of 137




    out by no later than the beginning of regular trading hours on the third settlement day following

    the settlement date, referred to as T+6.

           162.     As a result of Retail Investors building long positions in the Relevant Securities,

    by both buying stock in the Relevant Securities and buying “out of the money” call options in the

    Relevant Securities that had “strike prices” well above the prices that the Relevant Securities

    were then trading at, the stock price of these companies began to rise. As the value of the

    Relevant Securities increased, this resulted in both a “short squeeze” and a “gamma squeeze.”

           163.     As explained above, a short squeeze occurs when a stock or other asset rises

    sharply in value, distressing short positions in the asset. A short squeeze therefore is when

    investors in short positions are faced with a rapid increase in the shorted asset’s value, exposing

    the short seller to increased loss. As the price of the asset rises, short sellers may face pressure to

    buy back shares of stock to exit their short positions to mitigate their losses. In the absence of

    market manipulation or some other intervention, as short sellers exit their short positions by

    buying shares of stock to cover their short positions, the purchase of those shares further

    increases the price of the stock.

           164.     There is another phenomenon known as a “gamma squeeze” involving a

    derivative financial vehicle known as an option or an option contract.

           165.     “Options” are derivative financial instruments based on the value of an

    underlying security. An option contract offers the buyer the opportunity, but not the obligation, to

    buy or sell the underlying asset depending on the type of option contract.

           166.     “Call options” give the holder the right to buy the asset at a stated fixed price

    within a specific timeframe. “Put options” on the other hand give the holder the right to sell the




                                                      34
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 37 of 137




    asset at the stated fixed price within a specific timeframe. The fixed price at which the options

    holder may exercise the option is known as the “strike price.”

            167.     The holder of an option contract is not required to buy or sell the asset if they

    choose not to.

            168.     An option is “in the money” (ITM) if the option has a strike price that is

    favorable in comparison to the prevailing market price for the asset. For example, a call option is

    in the money if the option holder has the right to exercise the option to buy the underlying asset

    below its current market price. An ITM put option means the option holder can sell the security

    above the current market price.

            169.     Conversely, an “out of the money” (OTM) option has a strike price unfavorable

    in comparison to the market price for the underlying asset. For example, an OTM call option

    means the underlying asset’s current market price is below the strike price of the call. An option

    is “at the money” if the strike price equals the underlying asset price.

            170.     Options are priced based on a variety of risk variables known colloquially as the

    “Greeks” as they are represented by letters of the Greek alphabet.

            171.     “Delta” represents the rate of change between an option’s price a small change in

    the price of the underlying asset, i.e., the price sensitivity of the option with respect to the asset.

    The units of Delta can be normalized to the range -1 to +1, reflecting a one-dollar change in the

    underlying asset price. The Delta of a call option ranges from 0 to 1, whereas the Delta of a put

    option ranges from 0 to -1. A call option with a Delta of 0.10 therefore will increase by 10 cents

    for every one dollar the price of the underlying asset rises, absent any other changes.

            172.     “Gamma” represents the rate of change between an option’s Delta and the

    underlying price. The units of Gamma can be normalized to reflect the amount the Delta would



                                                       35
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 38 of 137




    change given a one-dollar move in the price of the underlying asset. For example, if a call option

    has a Gamma of 0.10, if the price of the underlying asset increases by one dollar, then the

    option’s Delta will increase by 0.10, absent any other changes.

            173.     An option that is deep out of the money or deep in the money has a small

    Gamma, whereas options that are at or near the money will have larger Gamma.

            174.     For at and around the money options, Gamma typically increases as the

    expiration date of the option approaches.

            175.     Market makers also attempt to reduce risk by hedging. A market maker typically

    hedges by looking at the Delta and buying or selling short an appropriate amount of stock to

    offset the option. For example, if a market maker sells a call option, then the market maker may

    hedge with long positions in the underlying security.

            176.     Similar to a short squeeze, a Gamma Squeeze occurs when a security experiences

    a sharp price increase. For example, consider when the price of an underlying security rises up

    towards the direction of the strike prices of deep out of the money options. When such an

    increase occurs, options that were previously unlikely to reach their strike prices before

    expiration see a rapid increase in values as it becomes more likely that the options will reach

    their strike prices.

            177.     At the same time, the options’ sensitivity to the price increases, i.e., the Delta,

    also increases due to the options’ Gamma. The Gamma also increases as the option approaches

    being in the money.

            178.     As the Gamma increases, market makers hedge by purchasing more of the

    underlying security, further driving the price of the security higher. As the price goes higher,

    more deep out of the money options either go in the money or approach their strike price,



                                                       36
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 39 of 137




    creating a feedback loop that rapidly increases the price of the underlying security, which then

    moves more out of the money options towards at the money or above.

           179.    With regard to GameStop, a popular Reddit user who also creates content on

    YouTube under the handle Roaring Kitty (“Roaring Kitty”) had reason to believe that hedge

    funds had entered into these short positions with respect to GameStop’s stock. Based on his own

    financial analysis, Roaring Kitty determined that GameStop was actually undervalued due to a

    range of factors, including that there had been extensive shorting of GameStop by numerous

    funds, and made an initial purchase of $50,000 of GameStop stock and published his investments

    on the Reddit financial discussion forum WallStreetBets.

           180.    WallStreetBets is a financial discussion forum on Reddit. WallStreetBets is

    characterized by a particular culture centered around discussion of financial investments and

    memes. Many users on WallStreetBets are sophisticated, financially savvy Retail Investors with

    business acumen.

           181.    Roaring Kitty regularly updated and continued to publish information and

    analysis that GameStop stock was undervalued. In August 2020, Roaring Kitty posted an in-

    depth analysis of GameStop’s stock on his YouTube channel, walking his subscribers through his

    extensive analysis of the value proposition of the stock.

           182.    Attention to GameStop’s stock was not limited to online financial communities

    and discussion forums. Dr. Michael Burry (who gained fame for his investment decisions and for

    correctly predicting the 2008 financial crisis as depicted in the film The Big Short) and his

    investment firm Scion Asset Management, LLC spent nearly $15 million to purchase stock in

    GameStop in 2019 at share prices between $2 and $4.20 per share for a 5% ownership position.

    GameStop’s share price steadily increased and Retail Investors took notice.



                                                    37
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 40 of 137




           183.      Ryan Cohen, the co-founder and former CEO of the pet e-commerce website

    Chewy.com, invested $76 million and acquired a 12.9% stake in GameStop in 2020. Several

    Retail Investors were optimistic about Ryan Cohen’s involvement in GameStop, who joined the

    board of directors on January 11, 2021.

           184.      Institutional investors, holding large short positions in GameStop and the other

    Relevant Securities began to push back by asserting that the Relevant Securities were not as

    valuable as the Retail Investors thought. For example, on January 21, 2021, when GameStop was

    valued at approximately $20 per share, Andrew Left, the founder of Citron Research, a capital

    research and investment firm, gave an interview explaining why he was shorting GameStop,

    calling the Retail Investors “the suckers at this poker game.”

           185.      In response, Retail Investors continued to build long positions and call options in

    GameStop and the other Relevant Securities. Given the operation of a free and open market,

    GameStop and other Relevant Securities were bid up and share prices increased. GameStop, for

    example, jumped 78.46% from $43.03 per share on January 21, 2021, to $76.79 per share on

    January 25, 2021. This massive price increase exposed the short sellers of the Relevant

    Securities, including the Market Maker Defendants, to very substantial loses. It was a textbook

    short squeeze.

           186.      The tremendous growth in the Relevant Securities’ stock price resulted in

    significant and potentially disastrous exposure of institutional investors, and hedge funds,

    holding short positions in the Relevant Securities.

           187.      On January 25, 2021, Citadel LLC injected around $3 billion along with another

    fund, Steven Cohen’s Point72 Asset Management (“Point72”), to bailout Melvin Capital from its

    distressed short position. Notably, Melvin Capital’s founder and CEO, Gabe Plotkin, began his



                                                     38
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 41 of 137




    career at Citadel before becoming a top portfolio manager at Point72’s predecessor firm, SAC

    Capital Management.

            188.    The following day, January 26, 2021, GameStop’s share price continued to surge

    after Social Capital’s Chamath Palihapitiya tweeted that he bought GameStop call options,

    betting the share price would go higher. GameStop closed at $147.98, up 92.7% from the

    previous day’s close.

            189.    Also on January 26, 2021, Tesla CEO Elon Musk (“Musk”) rallied behind

    GameStop’s epic price surge, tweeting “Gamestonk!!” along with a link to the WallStreetBets

    Reddit page. Shares of GameStop were up more than 60% in after-hours trading following

    Musk’s tweet.

            190.    On January 27, 2021, the price of the Relevant Securities soared as trading

    volumes in U.S. cash equities and options hit an all-time record level at 24.5 billion shares traded

    and 57.1 million contracts traded. GME’s stock price peaked at $380.00, before reaching a

    closing high of $347.51, a 134.84% increase from the previous day. Other Relevant Securities

    experienced similar surges. AMC’s share price skyrocketed over 300% and EXPR’s rose over

    200%.

            191.    Concurrently, Retail Investors were buying deep out of the money call options in

    the weeks leading up to January 28, 2021 based on their beliefs that the Relevant Securities were

    unfairly valued below their true value.

            192.    Market makers including Citadel Securities took the other side of these

    transactions, developing large short positions.




                                                      39
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 42 of 137




            193.    As the price of the Relevant Securities increased, the Delta and Gamma of the

    previously deep out of the money call options purchased by Retail Investors came closer to their

    strike price, further increasing the price of the Relevant Securities.

            194.    Additionally, January 29, 2021 was an expiry date for options. As the expiration

    date for options approaches, the Gamma generally increases, further compounding the effects the

    price increases of the Relevant Securities had on the Delta and Gamma of the Retail Investors’

    call options.

            195.    Similarly, as retail orders for the Relevant Securities were routed to the market

    makers, the market makers such as Citadel Securities took the other side of those buy orders, i.e.,

    improvidently short selling the security to execute the order by filling buy orders without owning

    the securities being purchased.

            196.    Further, as market makers such as Citadel Securities took the other side of the

    incoming call option and security purchases from Retail Investors, they built up significant short

    positions in the Relevant Securities.

            197.    As set forth above, the more a stock price increases, the greater the potential loss

    for the short seller. This culmination of events (i.e., the short-squeeze) triggered the Brokerage

    Defendants to place unprecedented trading restrictions on the Relevant Securities. In the case of

    the clearing brokers, the restrictions prevented the risk of liability for a potential clearing

    member default, and were likely in response to pressure from other market participants who

    stood to benefit from a decline in the stock, including market makers and funds that were short.

            198.    On January 27, 2021, TD Ameritrade announced that “[i]n the interest of

    mitigating risk for our company and clients, we have put in place several restrictions on some

    transactions in $GME, $AMC and other securities” and increased the margin requirements on



                                                      40
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 43 of 137




    certain securities. TD Ameritrade cited “unprecedented market conditions and other factors,” as

    the reason for the restrictions.

            199.    Charles Schwab similarly “put restrictions in place on certain transactions,”

    including for GME, AMC and EXPR, and Robinhood said it would not allow margin trading of

    shares of both GME and AMC.

            200.    At approximately 5:00 p.m. on January 27, 2021, the SEC released a statement

    that it was “aware of and actively monitoring the on-going market volatility in the options and

    equities markets,” but neither the SEC nor any other government agency issued any directive to

    restrict trading in the Relevant Securities.

            201.    The figure below summarizes the prices of GameStop’s stock from December 28,

    2020 through January 29, 2021.




                                                    41
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 44 of 137




           202.   The figure below summarizes the prices of Nokia Corporation’s stock from

    December 28, 2020 through January 29, 2021.




           203.   The figure below summarizes the prices of AMC Entertainment Holdings, Inc.’s

    stock from December 28, 2020 through January 29, 2021.




                                                  42
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 45 of 137




           204.   The figure below summarizes the prices of Koss Corporation’s stock from

    December 28, 2020 through January 29, 2021.




           205.   The figure below summarizes the prices of Trivago stock from December 28,

    2020 through January 29, 2021.




                                                  43
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 46 of 137




           206.   The figure below summarizes the prices of Bed Bath & Beyond stock from

    December 28, 2020 through January 29, 2021.




           207.   The figure below summarizes the prices of Express stock from December 28,

    2020 through January 29, 2021.




                                                  44
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 47 of 137




           208.   The figure below summarizes the prices of Tootsie Roll Industries Inc.’s stock

    from December 28, 2020 through January 29, 2021.




           209.   The figure below summarizes the prices of BlackBerry’s stock from December

    28, 2020 through January 29, 2021.




                                                  45
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 48 of 137




                                            The Illegal Scheme

           210.     Rather than use their financial acumen to compete and invest in good

    opportunities in the market to recoup the loss in their short positions as a result of the growth in

    the Relevant Securities’ prices, or paying the price for their highly speculative accumulation of

    large short positions, Defendants instead hatched an anticompetitive scheme to limit trading in

    the Relevant Securities.

           211.     After the market closed on January 27, 2021, suspicious coordinated after-hours

    trading occurred.

           212.     Analytics reveals a significant volume of GME short volume immediately prior

    to the markets opening on January 28, i.e., indicating that the after-hour traders were trading in

    anticipation of a GME sell-off. The grey lines in the chart below represent the volume of short

    positions in GME. As demonstrated by the grey lines below, the volume of short positions was

    much higher before January 28, 2021 than any of the prior days and had steadily increased the

    week prior.




                                                     46
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 49 of 137




            213.    Due to constraints imposed by retail brokers, Retail Investors cannot engage in

    after-hours trading to the same extent as institutional investors. It is therefore likely that this

    increase in short volume is the result of institutional investors, like the hedge funds and Market

    Maker Defendants, taking new short positions.

            214.    Failure to deliver (“FTD”) occurs when one party in a trading contract does not

    deliver on its obligations. For example, recall a short seller borrows a security at a price in hopes

    its price will decrease. If, however, a short seller fails to locate and borrow a security to deliver

    to a buyer, then that transaction is recorded as a fail to deliver.

            215.    Increases in FTDs are indicative of naked short selling. That is because naked

    short sellers do not actually possess the security they are supposed to “borrow.” Thus, when a




                                                       47
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 50 of 137




    buyer then seeks to purchase the borrowed security, the short seller cannot deliver because the

    short seller never possessed the security in the first place and fails to deliver on its obligations.

            216.    Increases in FTDs are also consistent with market makers taking on increased

    short positions. As market makers take the other side of buy orders routed to them, they borrow

    securities to sell short, developing a substantial short position themselves.

            217.    This practice of shorting stock that is not borrowable is largely inaccessible to

    Retail Investors, i.e., Retail Investors cannot engage in naked short selling. However, market

    makers are able to short stock that is not borrowable by utilizing a market maker exemption.

            218.    FTDs in the Relevant Securities also rose dramatically in the period leading up to

    January 28, 2021, a phenomenon consistent with both increasing short interest by the Market

    Maker Defendants and unnamed coconspirators as well as with improper trading in the form of

    selling securities without identifying stocks to borrow to deliver to the retail investors who

    bought them.




                                                      48
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 51 of 137




           219.   The figure below summarizes fails to deliver for AMC from January 1, 2021

    through February 9, 2021:




           220.   The figure below summarizes fails to deliver for BBBY from January 1, 2021

    through February 9, 2021:




                                                49
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 52 of 137




           221.   The figure below summarizes fails to deliver for BB from January 1, 2021

    through February 9, 2021:




           222.   The figure below summarizes fails to deliver for EXPR from January 1, 2021

    through February 9, 2021:




                                                 50
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 53 of 137




           223.   The figure below summarizes fails to deliver for GME from January 1, 2021

    through February 9, 2021:




           224.   The figure below summarizes fails to deliver for KOSS from January 1, 2021

    through February 9, 2021:




                                                51
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 54 of 137




           225.   The figure below summarizes fails to deliver for NOK from January 1, 2021

    through February 9, 2021:




           226.   The figure below summarizes fails to deliver for TR from January 1, 2021

    through February 9, 2021:




                                                 52
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 55 of 137




           227.    The figure below summarizes fails to deliver for TRVG from January 1, 2021

    through February 9, 2021:




           228.    The dramatic increase in short positions was counterintuitive. Chatter in various

    financial discussion forums indicated high excitement and motivation on the part of Retail

    Investors to continue investing in the Relevant Securities. Many Retail Investors announced

    plans to increase long positions in the Relevant Securities on January 28, 2021, which would

    mean the prices for the Relevant Securities were likely to go further up, not down.

                                     The Events of January 28, 2021

           229.    At approximately 1:00 a.m. EST on January 28, 2021, Defendant Robinhood

    circulated an email to its users with the subject line “[a]n important update on your expiring

    options,” informing them that in light of unprecedented volatility surrounding GME and AMC,

    and in an effort to help reduce risk, all GME and AMC options with expirations of January 29th,

    2021 will be set to closing transactions only. This meant that customers could close out their

    positions but could not make new investments.


                                                    53
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 56 of 137




           230.       The email was silent as to any restrictions placed on trading shares of GME,

    AMC, or other securities.

           231.       At 5:11 a.m. Eastern Standard Time, Robinhood received an email from NSCC

    indicating that Robinhood had a deficit of roughly $3 billion dollars.




           232.       Shortly thereafter, Robinhood had made its decision to move the Relevant

    Securities to PCO, i.e., that users of Robinhood could not buy the Relevant Securities and could

    only sell them.




                                                     54
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 57 of 137




           233.    Gretchen Howard, Robinhood’s Chief Operating Officer, messaged internally that

    Robinhood has a “major liquidity issue,” and that it was moving the Relevant Securities to

    position close only (“PCO”). This meant that customers could only sell shares in the Relevant

    Securities and were foreclosed from buying them.




           234.    As the markets opened on January 28, 2021, the Retail Investors woke up to find

    that the Brokerage Defendants had suddenly and without notice restricted their ability to

    purchase the Relevant Securities.


                                                   55
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 58 of 137




            235.    Retail Investors that used Robinhood as their brokerage could no longer purchase

    the Relevant Securities. The “buy” button was deactivated as a feature, leaving users with no

    option but to sell or hold their securities.

            236.    Robinhood addressed the “[w]hy don’t I see a buy button?” question on its

    website here: https://robinhood.com/us/en/support/articles/why-dont-i-see-a-buy-button/. It

    offered three reasons for the buy button being unavailable on a user’s account. The three reasons

    are: 1) “It’s a foreign stock, which we don’t support.” 2) “It’s an over-the-counter (OTC) stock or

    a warrant, which Robinhood generally doesn’t support”; and 3) “It’s a stock undergoing

    corporate action. The stock will be tradable again once the corporate action has been finalized.”

    Robinhood’s explanations did not correspond with reality, however, because the Relevant

    Securities were not foreign stocks, OTC stocks or stocks undergoing corporate actions during the

    Class Period. Robinhood did not warn users of any situation where it could prevent users from

    buying stock out of its own volition. This explanation was incomplete, inaccurate, untrue, and

    did not disclose the conspiracy underlying the change.

            237.    Worse, Retail Investors who had queued purchase orders overnight on January

    27, 2021 to purchase stock when the markets opened on January 28, 2021 discovered that their

    purchase orders had been cancelled without their consent. Some received messages that claimed

    “[y]ou canceled your order” despite the fact that they did no such thing.

            238.    The restrictions on trading took different forms but had the same effect. Retail

    Investors were prohibited from opening new long positions in the Relevant Securities. In other

    words, Retail Investors were not permitted to purchase new positions but only permitted to sell

    their long positions and not buy more.




                                                    56
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 59 of 137




           239.    On Robinhood’s web platform and mobile app, Retail Investors were blocked

    from searching for the Relevant Securities’ ticker symbols.




           240.    When Robinhood implemented its restrictions early in the morning of January 28,

    2021, it did so knowing that it was wrong, and also knowing that it was not in serious danger of

    being shut down by the NSCC.

           241.    In an internal Robinhood Slack chat, David Dusseault, President and Chief

    Operating Officer of Robinhood Financial, says “we are to[sic] big for them to actually shut us

    down” in response to queries about the NSCC.




                                                   57
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 60 of 137




           242.     The decision to restrict the sale of Relevant Securities was not happenstance.

    Robinhood did so with the knowledge that other members of the conspiracy had agreed to do so

    as well. Shortly after Robinhood decided to move the Relevant Securities to PCO, an internal

    Slack chat between Robinhood employees confirmed that Robinhood knew other brokerages

    would similarly restrict the relevant securities.

           243.                     , a manager of market operations for Robinhood, asks David

    Dusseault, President and COO of Robinhood Financial, “[d]id we make amc gme only PCO?”

           244.     Dusseault responds “yeah.” Dusseault further says “rhs received a very large

    call–confidentially. All firms on street Jim is saying are doing same thing.” Plaintiffs are

    informed and believe that Jim is likely Jim Swartwout, President and COO of Robinhood

    Securities.




                                                        58
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 61 of 137




           245.     Dusseault’s statement to           reveals that early in the morning of January 28,

    2021, Swartwout had been informed and was communicating internally at Robinhood that “all

    firms” “are doing the same thing”, i.e., restricting buying but permitting retail investors to sell. It

    was not in the independent common interest of Robinhood or other conspirators to do so without

    the agreement of its co-conspirators.

           246.     Consistent with their agreement, the other Brokerage Defendants and other

    brokerages employed similar tactics to prevent Retail Investors from opening new positions in at

    least one or more of the Relevant Securities.




                                                      59
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 62 of 137




           247.     For instance, Stash prohibited users from viewing tickers for GME and AMC.

    Other tickers were under no such restriction and were easily searchable on the platform. Because

    of Stash’s platform design, a Retail Investor who cannot view the page for a particular asset

    cannot trade in that asset. As a result, Retail Investors were unable to access the page for GME

    and AMC to open new long positions in the Relevant Securities.

           248.     News of the trading restrictions imposed by the Brokerage Defendants and other

    brokerage firms soon came to light via widespread media coverage and through the Brokerage

    Defendants’ own admissions.

           249.     Around 9:05 a.m. on January 28, 2021, Interactive Brokers announced via Twitter

    that it put AMC, BB, EXPR, GME, and KOSS option trading into liquidation only due to the

    extraordinary volatility in the markets. It also announced that long stock positions would require

    100% margin and short stock positions would require 300% margin.

           250.     E*Trade likewise confirmed that it halted GME and AMC stock citing

    “extraordinary volumes” as the reason, and various media outlets reported that Alpaca also

    restricted trade in the Relevant Securities.

           251.     Robinhood tweeted that in light current market volatility, it was restricting

    transactions for certain securities to position closing only, including $AMC and $GME.

           252.     Robinhood subsequently updated its website with a list of securities set to

    position-closing only, meaning that the Retail Investors could sell and close their positions in

    these securities, but they were prohibited from opening new positions. The securities included,

    inter alia, AMC, BB, BBBY, EXPR, GME, KOSS, NOK, TR and TRVG.

           253.     Robinhood attributed the aforesaid restrictions to ongoing market volatility and

    other pretextual explanations while not disclosing its communications with other members of the



                                                     60
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 63 of 137




    conspiracy. Robinhood, acknowledged that it had canceled open orders for the listed securities

    and also disabled the ability for users to search for these securities in Robinhood’s mobile app.

    Robinhood’s January 28 blog post titled, Keeping Customers Informed Through Market

    Volatility, also attributed the restrictions to “significant market volatility” and further disclosed

    that Robinhood raised margin requirements for certain securities.

           254.     Reporting throughout January 28, 2021, revealed that the ban on purchasing stock

    of the Relevant Securities occurred at many brokerages. On information and belief, the

    Brokerage Defendants adopted similar if not identical restrictions to Retail Investors from

    opening new positions in all, or at least one or more of the Relevant Securities. It is unlikely that

    they would have done so but for the conspiratorial agreement. Members of the conspiracy acted

    to shut down the market with the purpose of benefitting the participants in the conspiracy and

    with the intent to harm Plaintiffs and the members of the Class.

           255.     As intended, Pursuant to the illegal anticompetitive scheme, the coordinated

    prohibition on buying any new Relevant Securities—through the Brokerage Defendants’ forced

    foreclosure on Retail Investors from buying Relevant Securities—led to a massive sell-off. This

    resulted in a steep decline in the stock prices of the Relevant Securities.

           256.     For example, on January 28, 2021, GME shares reached an intraday peak of

    $483.00—before plunging down to $112.25, eventually closing at $193.60, a 44.29% drop from

    GME’s close of $347.51 just one day prior. Similarly, shares of AMC plummeted 56.63%, shares

    of EXPR fell 50.79% and shares of BBBY fell 36.40%. Retail Investors who wanted to take

    advantage of the price drop to buy more shares of the Relevant Securities were unable to due to

    the prohibition on purchasing.




                                                      61
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 64 of 137




           257.     The figures below (reproduced from above for ease of reference) illustrate the

    share prices of Relevant Securities from December 28, 2020 through January 29, 2021, and show

    the rise in share price attributable to the Retail Investors continued purchase of the stocks, as

    well as the sharp decrease in share price resulting from the restrictions imposed by the Brokerage

    Defendants on or about January 28, 2021.

           258.     The figure below summarizes the prices of GameStop’s stock from December 28,

    2020 through January 29, 2021.




                                                     62
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 65 of 137




           259.   The figure below summarizes the prices of Nokia Corporation’s stock from

    December 28, 2020 through January 29, 2021.




           260.   The figure below summarizes the prices of AMC Entertainment Holdings, Inc.’

    stock from December 28, 2020 through January 29, 2021.




                                                  63
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 66 of 137




           261.   The figure below summarizes the prices of Koss Corporation’s stock from

    December 28, 2020 through January 29, 2021.




           262.   The figure below summarizes the prices of Trivago stock from December 28,

    2020 through January 29, 2021.




                                                  64
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 67 of 137




           263.   The figure below summarizes the prices of Bed Bath & Beyond stock from

    December 28, 2020 through January 29, 2021.




           264.   The figure below summarizes the prices of Express stock from December 28,

    2020 through January 29, 2021.




                                                  65
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 68 of 137




           265.   The figure below summarizes the prices of Tootsie Roll Industries Inc.’s stock

    from December 28, 2020 through January 29, 2021.




           266.   The figure below summarizes the prices of BlackBerry’s stock from December

    28, 2020 through January 29, 2021.




                                                  66
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 69 of 137




           267.    The prohibition on purchasing stock did not apply to all investors. Large

    investment firms such as the hedge funds and Market Maker Defendants were not restricted from

    purchasing the Relevant Securities. While Retail Investors were excluded from purchasing

    securities at the reduced rate, investment firms and market makers such as Citadel Securities

    holding short positions were permitted to cover their short positions by buying securities at the

    artificially reduced price, including from dark pools such as the Market Maker Defendants’ own

    internalized exchanges.

           268.    As the Retail Investors sold their shares in the Relevant Securities due to the

    trading restrictions, the Market Maker Defendants internalized those transactions and took the

    other side of those sell orders, i.e., they bought the shares the Retail Investors were selling—at an

    artificially reduced price—to close their short positions. In doing so, the Market Maker

    Defendants were able to buy and return the borrowed securities they had sold short.

           269.    Numerous broker-dealer firms collectively prohibited Retail Investors from

    opening new positions in GME, AMC and other Relevant Securities on January 28, 2021. Some

    restricted Retailer Investors from buying or opening new long positions in securities wholesale,

    whereas others restricted purchasing options only.

           270.    Not all brokerages restricted the purchase of the Relevant Securities. Even in the

    cases where brokerages were allowing Retail Investors to open new long positions, however,

    clearing firms began to raise fees to purchase securities or otherwise instruct brokerages not to

    consummate purchase orders.

           271.    Brokerages and trading venues route trades through clearing brokers which

    streamlines the trading process. By increasing fees to purchase a particular stock, the clearing

    firm can suppress the number of purchases of that stock and negatively affect the stock’s price.



                                                     67
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 70 of 137




           272.     Many of the Brokerage Defendants, including Robinhood, act as their own

    clearing firm. These self-clearing Brokerage Defendants were able to use their own self-clearing

    ability to restrict trading through their own brokerages.

           273.     For the Brokerage Defendants who did not self-clear, they restricted trading at the

    direction of their clearing broker.

           274.     For instance, Anthony Denier (“Denier”), the CEO of Webull, a brokerage which

    had restricted trading in the Relevant Securities, placed the blame squarely on its clearing firm,

    Apex. According to Denier, the collateral required by Apex for GameStop increased by 100%

    and Apex had informed him that Webull needed to shut off the ability to open new positions in

    certain stocks. Denier further said that the restrictions originated the morning of January 28,

    2021 and was informed that Apex was instructed by the DTCC that it was increasing the

    collateral needed to settle trades for the Relevant Securities.




                                                     68
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 71 of 137




           275.    SoFi also restricted trading at the direction of Apex.




           276.    Other brokerages, including Ally, Dough, Public.com, Stash and Tastyworks also

    reported that Apex had instructed them to halt all opening transactions of GameStop, AMC and

    Koss on their platforms. For example, Dough tweeted, “[o]ur clearing has notified us that we

    must set GME, AMC, and KOSS to closing only. We will comply.” Public.com similarly

    tweeted, “[o]ur clearing firm, Apex Holdings, has decided to halt the buying of $KOSS, $GME,

    and $AMC.” Public.com subsequently tweeted “[w]e disagree with this decision and are working

    hard for our members to resolve the issue.”

           277.    Upon information and belief, ETC also prohibited Alpaca from allowing its users

    to purchase the Relevant Securities.




                                                    69
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 72 of 137




           278.     Perhaps fearing reprisal or worried that Apex or ETC would fail to execute, clear,

    and/or settle its customers’ transactions, the Introducing Brokerage Defendants acquiesced to

    Apex’s and ETC’s demand to restrict trading in the Relevant Securities.

                                     Collusion Amongst Defendants

           279.     Defendants were aware that they were acting in concert to collude and manipulate

    the market. In an interview given by Interactive Brokers’s chairman Thomas Peterffy

    (“Peterffy”) on January 28, 2021, Peterffy admitted that Interactive Brokers had restricted

    trading in order to “protect ourselves.” That same evening, Robinhood’s CEO Vlad Tenev

    (“Tenev”) told CNBC that Robinhood decided to stop trading in the Relevant Securities, in part

    “to protect the firm.”

           280.     The anticompetitive conspiracy described herein was authorized, ordered or

    performed by the Defendants’ respective officers, agents, employees, representatives, or

    shareholders while actively engaged in the management, direction, or control of the Defendants’

    businesses or affairs.

           281.     The coordinated and collusive prohibition on purchasing placed on Retail

    Investors quickly resulted in criticism from journalists and lawmakers. Robinhood in particular

    drew criticism from lawmakers on both sides of the aisle, including calls for congressional

    hearings and investigations by the U.S. Department of Justice.

           282.     Following the unprecedented restriction on trading, Robinhood’s conflict-ridden

    relationships quickly came to light. It was revealed that Citadel Securities regularly worked

    closely with Robinhood, serving as Robinhood’s market maker over 60% of the time.

           283.     Citadel Securities pays Robinhood for order flow. The “payment for order flow”

    relationship provides market makers with an opportunity to profit from the large amount of



                                                    70
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 73 of 137




    trading data collected by Robinhood and other Brokerage Defendants and provides Robinhood

    with profits as well as the funds required to provide zero-commission trading to its users.

    According to Robinhood’s SEC Rule 606 filing, Citadel Securities was responsible for over $141

    million of the approximate $330 million that Robinhood received as payment for order flow in

    the first quarter of 2021 alone.

           284.     According to the SEC, payment for order flow can “create conflicts of interest for

    brokers because of the tension between the firms’ interests in maximizing payment for order flow

    or trading profits generated from internalizing their customers’ orders, and their fiduciary

    obligation to route their customers’ orders to the best markets.”

           285.     Indeed, payment for order flow relationships between Citadel Securities and

    Robinhood as well as between Citadel Securities and other brokerages create a system ripe for

    illegal coordination.

           286.     Market makers like Citadel Securities developed large short positions in the

    Relevant Securities in the days leading up to and including January 28, 2021 as a result of the

    market makers’ regular market making activities. As stock prices rise in an environment driven

    by retail trader buying activity, market makers typically take the other side of the retail traders’

    stock buys and as a result the market makers develop short positions in the stocks that the retail

    traders have been buying. Traditional market makers would try to avoid building a short position

    and remain market neutral in such an environment by buying back shares that the market makers

    have sold short, while aiming to capturing the bid and ask spread to profit. However, a different

    type of market maker will integrate market making and speculative position taking in such an

    environment, which would allow the market maker to take on more trading volume by assuming

    more risk. It can be difficult for a market maker to both remain neutral and handle high order



                                                      71
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 74 of 137




    flow, and it can be natural for more aggressive market makers to take on more risk. Thus, many

    larger market makers become a hybrid of a market maker and a proprietary trader.

           287.     Market makers that engage in hybrid market making and proprietary trading, in

    an environment such as that seen in late January 2021 where retail traders are continually buying

    certain stocks, will see the size of the market makers’ short positions grow as they take the other

    side of the retail trading activity and do not adhere to a strictly market neutral approach. As those

    market makers’ short positions increase, the short positions will at some point begin to reach the

    market makers’ risk limits. This is particularly the case when there are unidirectional market

    flows, i.e., when a stock is “breaking out,” and there are no correlated instruments with which

    the market makers can hedge their positions. In such a time, it may be impossible for the market

    makers to buy back all the shares that the market makers have sold short without locking in a

    loss. A market maker is then faced with the choice of either allowing a continued speculative

    buildup of a short position, presumably because the market maker expects the market to

    subsequently reverse, or closing out at the position at loss. Market makers that hold significant

    short positions that continue to build up during break-out conditions where a security has no

    natural hedges are clear examples of the hybrid model where speculative position taking is

    embedded in a market maker operation.

           288.     As market makers build their short positions under the dynamic described above,

    the market makers will approach the market makers’ risk limits. When a market maker

    approaches the market maker’s risk limit, the market maker will be faced with the decision to

    either stop selling and begin buying back the shorted stock at a loss, or to work with the firm’s

    management and risk group to increase the firm’s risk limits.

           289.     For a market maker that chooses not to increase the risk limits and instead routes



                                                     72
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 75 of 137




    orders away to the exchange, that market maker will face dramatic adverse consequences for the

    following two reasons.

           290.     The first reason is that market makers have an incentive to keep the retail traders’

    buy orders off the exchange to prevent the buy orders from driving further up the price of the

    securities that the retail traders are buying. For example, directing an order of $500,000 for a

    given security towards a public exchange would increase the demand for that security on the

    exchange and drive the security’s price up. If the market maker had already developed significant

    short positions in that security from the dynamic described above, then any increase in the price

    of the security would make it difficult for the market maker to buy back that security and close

    the market maker’s short positions, and the market maker would experience mark to market

    losses as the security moved upward against the market maker’s short position.

           291.     The second reason is that these market makers have arrangements whereby the

    market makers pay retail brokers for payment for order flow. Under these arrangements, the

    market makers pay retail brokers to direct trades towards the market makers, thereby creating

    volume for the market makers’ market making services. If a market maker is unable to take the

    other side of a trade itself internally, the market maker must instead route the trade to the

    exchange. In doing so, the market maker then pays a “taker fee” for each trade that the market

    maker directs to an exchange. In other words, the market maker must realize a mark to market

    loss for each trade that the market maker directs away from itself to an exchange. This loss may

    amount to roughly one-half of one cent per share, when payments to the broker and exchange

    transactions fees are considered.




                                                     73
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 76 of 137




           292.     Those two reasons were strong enough incentives to not route orders away to an

    exchange that the reasons led the Market Maker Defendants to build large short positions in the

    Relevant Securities in the days leading up to January 28, 2021.

           293.     Market makers that continue to grow large short positions in the way described

    above may at some point cross the line from market making activity to speculative proprietary

    trading as the market makers begin to take directional bets on the direction of the market. Such

    speculative proprietary trading violates SEC Regulation SHO, which allows market makers that

    engage in bona fide market making activities to benefit from an exception to the “locate” rules

    that would otherwise require a broker-dealer to locate stock before selling the stock short.

           294.     Regulation SHO, which was promulgated in           , only applies to bona fide

    market making activities, and the preamble to Regulation SHO indicates that “[b]ona-fide market

    making does not include activity that is related to speculative selling strategies or investment

    purposes of the broker-dealer and is disproportionate to the usual market making patterns or

    practices of the broker-dealer in that security.” (69 FR at 48015). A significantly large short

    position developed by a market maker should be considered evidence that the market maker

    actually has a speculative view on the direction that the market will move and that the market

    maker has chosen not to maintain a neutral position. When large market makers such as Citadel

    develop such large short positions, those large market makers divert from bona fide market

    making activities within the meaning of Regulation SHO by not keeping a neutral book and

    instead taking a bet that the market will drop. Such market makers are then no longer engaged in

    a bona fide market making activity within the meaning of Regulation SHO but are instead

    engaged in “speculative selling strategies” that are “disproportionate to the usual market making

    patterns or practices” of the market maker. Notably, the SEC has successfully pursued actions



                                                     74
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 77 of 137




    against several market makers for violating Regulation SHO through similar speculative short

    selling activities that did not constitute bona fide market making activities. See, e.g.,

    https://www.sec.gov/litigation/admin/2016/34-79579.pdf and

    https://www.sec.gov/litigation/admin/2012/34-66283.pdf.

           295.     Citadel Securities built substantial short positions in the Relevant Securities in

    late January 2021 through the dynamic described above. Since short positions are not disclosed

    on Form 13F, though, such positions are not publicly disclosed.

           296.     The Market Maker Defendants were able to communicate with the brokerages

    swiftly and effectively because of their pre-existing relationships. Indeed, high-level executives

    of Citadel Securities regularly communicated with and coordinated with high-level executives of

    Robinhood and others in the lead up to, during and after the restrictions imposed on or around

    January 28, 2021.

           297.     For example, on January 20, 2021,                    , Head of Execution Services

    for Citadel Securities, and Josh Drobnyk, the newly hired Vice President of Corporate Relations

    and Communications for Robinhood, agreed to communicate.                  and Drobnyk had a prior

    relationship through Drobnyk’s employment at FINRA when                   served on FINRA’s board.

           298.     During this communication,             extended a proposition to Drobnyk.

    Drobnyk discussed with Dan and Lucas, likely Daniel Gallagher and Lucas Moskowitz,

    Robinhood’s chief legal officer and deputy general counsel respectively and agreed to revert to

             “by early next week at the latest.”

           299.              responded it was “good to reconnect and very happy that we will be

    working together.” Additionally,           responded for Drobnyk to “just let us know if interested

    and who the main contact should be.”



                                                      75
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 78 of 137




           300.    On Monday, January 25, 2021, Drobnyk emails         and says “[w]e are on

    board.” Drobnyk says Lucas Moskowitz, Robinhood’s deputy general counsel, would be the

    main point of contact.




                                                76
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 79 of 137




           301.            in turn extends an invitation to Moskowitz to “chat” and expressed that

    “we obviously have a strong relationship between the two firms.”

           302.            and Moskowitz then arranged a call for 11 a.m. Eastern time on January

    26, 2021.




                                                  77
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 80 of 137




           303.    While the details of these communications have not been disclosed, it is clear that

    these representatives of Citadel Securities and Robinhood reached an agreement on January 25,

    2021, and each took affirmative steps in furtherance of the illicit scheme.

           304.    On January 27, 2021, the day before the restrictions were implemented, high

    level employees of Citadel Securities and Robinhood had numerous communications with each

    other that indicate that Citadel applied pressure on Robinhood.

           305.    In an internal Slack chat conversation, Gretchen Howard, Robinhood’s Chief



                                                    78
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 81 of 137




    Operating Officer, informs Vlad Tenev that “Dan and I are joining Jim at 5pm on a call with

    Citadel.” Dan and Jim likely refer to Dan Gallagher and Jim Swartwout, President and Chief

    Operating Officer of Robinhood Securities. Citadel Securities had requested to speak that

    evening. Howard indicated that she believed Citadel Securities would make demands on limiting

    payment for order flow.

           306.     As described above, Robinhood makes significant sums from selling order flow,

    and in particular, selling order flow to Citadel Securities.

           307.     Tenev muses that “Maybe this would be a good time for me to chat with Ken

    griffin [sic]” and tells Howard, “You guys can mention that.”




                                                      79
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 82 of 137




           308.    Shortly thereafter, in an internal chat,         , Senior Director of Clearing

    Operations at Robinhood tells Swartwout, “[a]necdotal evidence that several ‘very large’ firms

    are having really bad nights too.”




                                                     80
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 83 of 137




           309.    Swartwout responds that “everyone is. you wouldnt [sic] believe the convo we

    had with Citadel. total mess.”

           310.    At 8:16 p.m., Swartwout emails                      at Citadel Securities looking

    for “new Citadel numbers.”             informs Swartwout at 9:31 p.m. that the numbers were

    “[f]irming up right now in light of the follow up conversation between Gallagher and        .”




                                                    81
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 84 of 137




            311.    At 8:29 p.m.,             , Citadel Securities’s Vice President of Business

    Development, emailed Robinhood personnel including Swartwout that                   , “whom Vlad has

    met before, is available until 10pm EST to speak to Vlad.”          offers to set up a call.

            312.    Swartwout, in turn responds minutes later, “Because of our partnership, Vlad

    would like to have a discussion with Ken [Griffin] at some point, just given our relationship. Not

    specific to this crazy issue.”

            313.    Swartwout later cryptically tells        , “I have to say I am beyond disappointed in

    how this went down. It’s difficult to have a partnership when these kind of things go down this

    way.”


                                                        82
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 85 of 137




           314.    High-level employees of Citadel Securities did not only communicate with

    Robinhood’s employees.

           315.    For example, on January 28, 2021, high level employees of Defendant E*Trade

    communicated with employees of Citadel Securities to ensure certain orders were cancelled.




                                                  83
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 86 of 137




           316.                  , Senior Manager for Trading Operations for E*Trade, emails

    Citadel Securities about “Potential open orders.”         lists a number of securities and asks

    Citadel Securities if it can “confirm you’re out on these.”          of Citadel Securities

    confirmed that several of the orders were “Canceled.”




           317.    Defendants’ conspiratorial acts resulted in lockstep price movements of the

    Relevant Securities that can only be explained by coordinated, lockstep actions by Defendants, in

    particular when considering Retail Investors were only permitted to sell positions in the Relevant

    Securities.

           318.    As demonstrated by the charts below, the stock prices of the Relevant Securities

    moved in parallel fashion throughout January 28, 2021. For example, the charts revealed a


                                                    84
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 87 of 137




    coordinated rise in the prices of the Relevant Securities from approximately 11:00-11:30 a.m.,

    immediately after the Relevant Securities took a steep dive after the markets opened. At that

    time, few if any Retail Investors were permitted to purchase positions in the Relevant Securities

    and only institutional investors such as hedge funds and the Market Maker Defendants were

    permitted to purchase.




                    The Anticompetitive Scheme Continued After January 28, 2021

           319.    Partly as a result of criticism, as the market opened on January 29, 2021, nearly

    all of the Brokerage Defendants had lifted their trading restrictions and permitted Retail

    Investors to open new long positions in the Relevant Securities.

           320.    Even in the face of increased scrutiny, however, Defendants continued their

    anticompetitive scheme to suppress the price of the Relevant Securities.




                                                    85
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 88 of 137




            321.     While purchases of the Relevant Securities were permitted, they were heavily

    restricted by the Brokerage Defendants, resulting in continuing suppression of their value.

            322.     Many of the Brokerage Defendants restricted trading of long option contracts and

    announced to Retail Investors they would close out their profitable option positions

    automatically.




            323.     Robinhood also placed limitations on the number of new positions its users could

    open by capping the total number of shares and options contracts an individual could hold in

    certain securities. Nevertheless, Retail Investors, still believing in the value of the assets,

    continued to purchase the Relevant Securities once they were permitted.

            324.     On January 29, 2021, Robinhood limited users to purchasing imposed limitations

    on the Relevant Securities. With respect to GameStop, Robinhood first restricted Retail Investors

    to purchasing only two shares of GameStop, which resulted in a rapid decline in the value of

    GameStop.



                                                      86
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 89 of 137




           325.     On January 30, 2021, the value of the Relevant Securities began to regain the

    value lost the prior days as a result of Defendants’ coordinated action to suppress the value of the

    stocks. Because the Market Maker Defendants, hedge funds, and other unnamed conspirators

    still had distressed short positions outstanding, this threatened their ill-gotten gains achieved the

    day before. Robinhood then instituted a one share limit on the Relevant Securities, including

    GME and AMC further causing the value of the stocks to decrease.




                                                     87
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 90 of 137




           326.     Even though some brokerages had lifted their restrictions, the effects of the

    restrictions persisted as a result of the continued restrictions at Robinhood and other brokerages.

           327.     Although Apex had lifted restrictions on trading by January 29, 2021, it continued

    its participation in the scheme by policing the conspiracy and warning Robinhood of efforts to

    purchase the Restricted Securities.

           328.     An internal Robinhood Slack chat revealed that it was Apex that alerted

    Robinhood to efforts to purchase the Restricted Securities. For example, on January 29, 2021,

    Miles Wellesley, VP of Business Development at Robinhood, shared a link to a Reddit post titled

    “How to Buy GME Above Broker Limits” to David Dusseault, President and COO of Robinhood

    Financial.

           329.     Wellesley tells Dusseault, “FYI Apex pinged me on this to make sure we’re

    aware of it.”




                                                    88
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 91 of 137




           330.    Specifically, Apex notified Robinhood about posts on WallStreetBets that indicate

    Retail Investors found a loophole which allowed them to purchase shares of the Relevant

    Securities above the limitations imposed by Robinhood.




                                                  89
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 92 of 137




           331.    Each artificial limitation in the amount of securities a Retail Investor could

    purchase correlated with a subsequent decrease in share value. As purchases of the Relevant

    Securities were limited, more investors were pressured to sell who otherwise would not have in

    the presence of a free and open market.

           332.    In order to disguise their illegal agreement after the restrictions on or around

    January 28, 2021, high-level executives and communications professionals at Citadel Securities

    and Robinhood communicated between each other to coordinate their messaging.

           333.    On January 30, 2021, Citadel Securities’s                sent an email to Josh

    Drobnyk, Robinhood’s Vice President of Corporate Communications. In this email,

    introduced Drobnyk to              , who          described as the person “running point on this




                                                    90
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 93 of 137




    narrative for us.”         indicated he “wanted to generally coordinate messaging.” Additionally,

              cc’d two individuals he described as “our GCs” “for privilege.”

              334.          , who was on a flight, arranged to “connect” with Drobnyk once

    landed.          asked if the issue was “urgent” or “super urgent.”

              335.          called Drobnyk twice after the flight landed.




              336.   Robinhood ultimately continued to impose limitations on certain securities

    through February 4, 2021, despite announcing on January 29, 2021, that it raised more than $1

    billion to help meet rising demands for cash and shore up its balance sheet. The money raised


                                                     91
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 94 of 137




    was on top of $500 million Robinhood accessed through credit lines to ensure it had the capital

    required to keep allowing its clients to trade the Relevant Securities. On February 1, 2021,

    Robinhood announced that it raised an additional $2.4 billion in funding on top of the $1 billion

    it has raised the previous week.

           337.     On January 29, 2021, the SEC once again issued a statement that it was “closely

    monitoring and evaluating the extreme price volatility of certain stocks’ trading prices over the

    past several days,” and on February 1, 2021, then acting SEC Chair Allison Herren Lee stated

    during an interview with NPR that “[t]he Commission will closely review actions taken by

    regulated entities that may disadvantage investors or otherwise unduly inhibit their ability to

    trade certain securities.” She also stated that the SEC was investigating the role that short selling

    may have played in the recent events.

           338.     On January 31, 2021, Robinhood’s CEO Tenev published an opinion piece on

    USA TODAY. Despite previously citing market volatility as the reason for Robinhood’s decision

    to impose the trading restrictions, Tenev now stated Robinhood’s decision was made based on

    clearinghouse-mandated deposit requirements that it claimed were “increased ten-fold.”

           339.     However, Tenev’s excuse that Robinhood restricted trading because of NSCC

    deposit requirements increasing ten-fold was merely pretext as Robinhood likely knew it had

    liquidity issues before the NSCC margin call and made the decision to restrict trading in the

    Relevant Securities before NSCC notified them of same.

           340.     On February 18, 2021, Robinhood’s CEO Tenev testified before the U.S. House

    Committee on Financial Services. Tenev’s prepared statement disclosed that the Robinhood

    Securities operations team made the decision to impose trading restrictions on the Relevant

    securities between 6:30 and 7:30 a.m. EST. Although Robinhood had been attributing its trading



                                                     92
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 95 of 137




    restrictions to increased clearinghouse-mandated deposit requirements, Tenev revealed that

    Robinhood met its revised deposit requirements a little after 9:00 a.m. EST on January 28, 2021.

    Nevertheless, Robinhood held fast to its decision to restrict purchases of the Relevant Securities

    when the market opened, continued to impose restrictions for the entirety of trading day, and

    limited the number of stocks and option contracts its users could acquire through February 4,

    2021.

            341.    Similarly, Apex’s president Tricia Rothschild admitted in an interview with

    Financial Planning on March 4, 2021, that Apex did not restrict trading as a result of capital

    requirements, stating that Apex had headroom in terms of the capital available on its balance

    sheet and also had credit lines it could call upon. Notwithstanding, Apex instructed Ally, Dough,

    Public.com, Sofi, Stash, Tastyworks and Webull to halt their clients’ ability to purchase shares of

    GME, AMC and/or KOSS on January 28. Apex’s communication to suspend users’ ability to

    purchase shares of the Relevant Securities was only made telephonically to Webull, and

    presumably others.

                     Data Reveals that Shorts Exited Their Exposed Short Positions

            342.    Publicly available data reveals that short interests significantly decreased as a

    result of the trading restrictions described herein, with the sharpest and most significant

    decreases occurring after the coordinated restrictions on January 28, 2021.

            343.    While it is difficult to determine who owns a particular short interest at any

    particular time and when that investor exits their short position, entities such as FINRA and

    governmental organizations such as the SEC regularly aggregate and report certain statistics

    related to short interests.

            344.    FINRA member firms are required to report their short positions as of settlement



                                                     93
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 96 of 137




    twice every month: on the 15th (or the preceding business day if the 15th is not a business day)

    and the last business day of the month. FINRA compiles the data and publishes the total short

    interest on the 8th business day after the reporting settlement date.

           345.     Short interest is defined as the number of shares of a security that have been sold

    short but have not yet been covered or closed out and may be expressed as a number or

    percentage.

           346.     Based on published short interest rates, aggregate short interest in the Relevant

    Securities, a strong indicia of bearish market sentiment, generally climbed in the reporting

    periods before the restrictions on and around January 28, 2021 and dropped precipitously as of

    January 29, 2021 and continuing through the first few weeks of February, i.e., short interest

    plummeted during the periods including the trading restrictions indicating short holders had

    exited their short positions during or soon after the trading restrictions. While some of the

    Relevant Securities reflect increasing short interest as of the report on January 29, 2021, because

    the reports do not require investors to disclose when those short positions were purchased, the

    data could capture large openings of short interest before January 28, 2021.

           347.     The below are charts of the estimated total short interest for the Relevant

    Securities as reported by Market Beat from December 2020 through February 2021:




                                                     94
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 97 of 137




                        AMC Entertainment Holdings, Inc. (AMC)
     Report Date        Total Shares Sold       Dollar Volume Sold   Change from
                        Short                   Short                Previous Report
     Dec. 15, 2020      38,080,000              $121.48 million      +13.6%
     Dec. 31, 2020      38,990,000              $84.22 million       +2.4%
     Jan. 15, 2021      44,670,000              $97.38 million       +14.6%
     Jan. 29, 2021      37,720,000              $325.52 million      -15.6%
     Feb. 12, 2021      48,130,000              $270.01 million      +27.6%
     Feb. 26, 2021      55,490,000              $460.01 million      +15.3%


                                     BlackBerry Ltd. (BB)
     Report Date        Total Shares Sold       Dollar Volume Sold   Change from
                        Short                   Short                Previous Report
     Dec. 15, 2020      34,570,000              $285.20 million      +16.8%
     Dec. 31, 2020      39,560,000              $263.87 million      +14.4%
     Jan. 15, 2021      43,490,000              $396.19 million      +9.9%
     Jan. 29, 2021      20,410,000              $299.01 million      -53.1%
     Feb. 12, 2021      32,350,000              $403.08 million      -58.5%
     Feb. 26, 2021      43,030,000              $455.26 million      -33.0%


                             Bed Bath & Beyond Inc. (BBBY)
     Report Date        Total Shares Sold       Dollar Volume Sold   Change from
                        Short                   Short                Previous Report
     Dec. 15, 2020      72,770,000              $1.37 billion        +9.3
     Dec. 31, 2020      76,180,000              $1.42 billion        +4.7%
     Jan. 15, 2021      74,890,000              $2.05 billion        -1.7%
     Jan. 29, 2021      31,770,000              $1.07 billion        -57.6%
     Feb. 12, 2021      26,240,000              $723.96 million      -17.4%
     Feb. 26, 2021      25,460,000              $669.34 million      -3.0%




                                             95
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 98 of 137




                                     Express, Inc. (EXPR)
     Report Date        Total Shares Sold      Dollar Volume Sold    Change from
                        Short                  Short                 Previous Report
     Dec. 15, 2020      6,970,000              $7.25 million         +9.5%
     Dec. 31, 2020      8,020,000              $7.59 million         +15.1%
     Jan. 15, 2021      7,220,000              $9.24 million         -10.0%
     Jan. 29, 2021      8,560,000              $40.23 million        +18.6%
     Feb. 12, 2021      5,930,000              $16.72 million        -30.7%
     Feb. 26, 2021      4,560,000              $13.63 million        -23.1%


                                      GameStop (GME)
     Report Date        Total Shares Sold       Dollar Volume Sold   Change from
                        Short                   Short                Previous Report
     Dec. 15, 2020      68,130,000              $866.61 million      +0.2%
     Dec. 31, 2020      71,200,000              $1.37 billion        +4.5%
     Jan. 15, 2021      61,780,000              $2.47 billion        -13.2%
     Jan. 29, 2021      21,410,000              $4.14 billion        -65.3%
     Feb. 12, 2021      16,470,000              $841.62 million      -23.1%
     Feb. 26, 2021      14,200,000              $1.54 billion        -13.8%


                                  Koss Corporation (KOSS)
     Report Date        Total Shares Sold      Dollar Volume Sold    Change from
                        Short                  Short                 Previous Report
     Dec. 15, 2020      700                    $1,715.00             -83.3%
     Dec. 31, 2020      590,300                $2.18 million         +84,228.6%
     Jan. 15, 2021      12,800                 $39,296.00            -97.8%
     Jan. 29, 2021      756,100                $31.73 million        +5,807.0%
     Feb. 12, 2021      289,000                $4.60 million         -61.8%
     Feb. 26, 2021      598,700                $12.89 million        -107.2%




                                             96
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 99 of 137




                                     Nokia Corp. (NOK)
     Report Date        Total Shares Sold      Dollar Volume Sold   Change from
                        Short                  Short                Previous Report
     Dec. 15, 2020      48,240,000             $192.96 million      -5.7%
     Dec. 31, 2020      50,520,000             $196.52 million      +4.7%
     Jan. 15, 2021      59,550,000             $243.56 million      +17.9%
     Jan. 29, 2021      56,840,000             $266.58 million      -4.6%
     Feb. 12, 2021      16,470,000             $841.62 million      -23.1%
     Feb. 26, 2021      48,270,000             $197.91 million      -15.1%


                             Tootsie Roll Industries, Inc. (TR)
     Report Date        Total Shares Sold      Dollar Volume Sold   Change from
                        Short                  Short                Previous Report
     Dec. 15, 2020      7,260,000              $223.03 million      -1.4%
     Dec. 31, 2020      7,390,000              $219.34 million      +1.8%
     Jan. 15, 2021      7,400,000              $222 million         +0.1%
     Jan. 29, 2021      5,010,000              $194.29 million      -32.3%
     Feb. 12, 2021      3,960,000              $122.64 million      -21.0%
     Feb. 26, 2021      4,020,000              $128.36 million      +1.5%


                                     Trivago N.V. (TRVG)
     Report Date        Total Shares Sold      Dollar Volume Sold   Change from
                        Short                  Short                Previous Report
     Dec. 15, 2020      2,410,000              $5.78 million        -18.0%
     Dec. 31, 2020      1,990,000              $4.48 million        -17.4%
     Jan. 15, 2021      1,940,000              $4.33 million        -2.5%
     Jan. 29, 2021      976,500                $2.42 million        -49.7%
     Feb. 12, 2021      2,900,000              $7.74 million        +197.0%
     Feb. 26, 2021      2,580,000              $10.73 million       -11.0%




                                             97
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 100 of
                                     137



          348.     The data shows that short interest generally declined sharply after the coordinated

   trading restrictions on January 28, 2021 and continued to decrease into February.

          349.     According to Reuters, short interest in GameStop ultimately declined to an

   estimated 15% as of March 24, 2021 from a peak of 141% in the first week of January.

          350.     FINRA also aggregates dark pool trading activity. Generally, FINRA classifies

   over-the-counter (“OTC”; OTC is generally the trading of securities between two counterparties

   outside of formal exchanges and without the supervision of an exchange regulator) trading data

   into two categories, alternative trading systems (“ATS”), and OTC non-ATS dealers. Both ATS’s

   and OTC non-ATS’s are considered dark pools or dark exchanges due to their lack of

   transparency.

          351.     As mentioned above, dark pools are the preferred trading venue for large

   institutional investors largely because they are not transparent. Additionally, Retail Investors

   generally do not have access to trading on dark pools.

          352.     Additionally, the internal exchanges market makers such as Citadel Securities use

   to internalize order executions are also dark exchanges.

          353.     FINRA data shows notable and significant increases in dark pool trading activity

   for each of the Relevant Securities on and around January 28, 2021, captured in the data tables

   below in the week beginning January 25, 2021.

          354.     Below are the trading data for ATS and OTC non-ATS as published by FINRA for

   the Relevant Securities for the months of December 2020 through February 2021.




                                                    98
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 101 of
                                     137



                          AMC Entertainment Holdings Inc. (AMC)
                                                    OTC (Non-ATS)
                         ATS Issue Data
                                                    Issue Data
            Week Starting Total Shares Total Trades Total Shares Total Trades
             12/7/2020       3,892,732      18,682      67,419,270     129,817
             12/14/2020      18,391,507      46,178     104,778,002     202,961
             12/21/2020      11,346,974      24,141      33,528,313      82,458
             12/28/2020      16,302,709      26,755      64,304,993     117,401
               1/4/2021      26,753,239      57,147      91,328,050     155,666
              1/11/2021      34,838,029      52,224     190,054,425     219,454
              1/18/2021      39,025,588     107,140     468,261,296     579,153
              1/25/2021     163,944,634     861,814    1,316,481,677   6,387,856
               2/1/2021      53,119,619     396,405     679,049,807    5,292,157
               2/8/2021      19,006,375     100,007     267,479,975    1,581,292
              2/15/2021      11,094,977      47,451     128,498,955     606,484
              2/22/2021      57,563,861     255,961     655,595,790    2,765,472


                                       BlackBerry Ltd. (BB)
                                                        OTC (Non-ATS)
                           ATS Issue Data
                                                        Issue Data
           Week Starting   Total Shares Total Trades Total Shares     Total Trades
             12/7/2020       6,741,741        28,369       52,582,544    83,413
            12/14/2020       7,390,537        29,589       42,234,476    69,413
            12/21/2020       4,080,363        16,744       22,436,470    33,445
            12/28/2020       3,328,364        18,541       14,320,357    24,573
              1/4/2021       5,497,996        23,126       24,320,552    35,956
             1/11/2021      15,749,501        70,140      120,235,955   233,852
             1/18/2021      22,768,771       102,523      214,606,499   485,668
             1/25/2021      97,793,056       537,722      517,348,442  2,535,183
              2/1/2021      15,853,070        71,561      115,283,157   706,823
              2/8/2021       9,421,223        47,468       46,803,945   289,363
             2/15/2021       4,935,816        27,732       28,637,443   150,047
             2/22/2021       8,031,370        40,568       40,626,852   168,204




                                               99
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 102 of
                                     137



                              Bed Bath & Beyond Inc. (BBBY)
                                                       OTC (Non-ATS)
                             ATS Issue Data
                                                       Issue Data
               Week Starting Total Shares Total Trades Total Shares Total Trades
                 12/7/2020    5,657,584     32,668       8,876,324    22,509
                12/14/2020 4,042,873        30,348      10,771,286    29,748
                12/21/2020 1,750,491        13,449       5,254,166    14,276
                12/28/2020 3,178,084        23,109       8,607,888    24,582
                  1/4/2021   11,217,626     58,775      29,015,914    89,634
                 1/11/2021    8,259,495     45,764      29,383,395    71,871
                 1/18/2021    6,835,010     38,787      25,306,634    64,126
                 1/25/2021 38,730,381 193,066 110,400,806 466,999
                  2/1/2021    5,591,490     28,687      16,197,789 103,485
                  2/8/2021    4,498,953     17,566       6,783,384    40,971
                 2/15/2021    1,599,526     14,266       2,724,684    17,053
                 2/22/2021    3,416,041     19,961       4,886,756    22,852

                                    Express, Inc. (EXPR)
                                                       OTC (Non-ATS)
                             ATS Issue Data
                                                       Issue Data
               Week Starting Total Shares Total Trades Total Shares Total Trades
                 12/7/2020    1,380,310      5,117      10,348,509    10,888
                12/14/2020 2,071,231         5,695       8,254,132     8,387
                12/21/2020     409,385       2,000       4,185,373     4,102
                12/28/2020     953,642       2,928       7,992,473     8,329
                  1/4/2021     903,858       3,041       6,556,352     6,822
                 1/11/2021    2,745,296      9,087      32,839,484    33,322
                 1/18/2021    3,192,561     11,068      29,041,757    31,091
                 1/25/2021 38,745,046 219,271 393,960,045 832,222
                  2/1/2021    5,518,566     24,966      51,136,521 169,630
                  2/8/2021    1,955,926      9,126      25,409,465    73,501
                 2/15/2021    1,483,747      7,268      16,072,575    31,354
                 2/22/2021    4,167,742     23,818      67,521,294 105,853




                                             100
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 103 of
                                     137



                                  GameStop Corp. (GME)
                                                       OTC (Non-ATS)
                             ATS Issue Data
                                                       Issue Data
               Week Starting Total Shares Total Trades Total Shares Total Trades
                 12/7/2020    4,150,662     23,690      26,137,279 107,667
                12/14/2020 3,104,483        16,397      19,437,594    60,013
                12/21/2020 4,900,689        28,967      35,405,726 122,854
                12/28/2020 1,876,336        12,173      14,402,253    64,118
                  1/4/2021    3,458,092     21,807      13,926,925    63,783
                 1/11/2021 22,330,904 145,558 156,958,902 588,136
                 1/18/2021 29,392,454 206,476 170,039,730 849,773
                 1/25/2021 44,126,023 593,161 184,322,090 4,275,955
                  2/1/2021   17,913,654 392,399 109,775,294 3,417,362
                  2/8/2021    6,997,461     80,593      49,113,110 825,424
                 2/15/2021    3,905,721     45,227      21,554,348 341,014
                 2/22/2021 18,960,413 370,347 121,667,858 3,157,435

                                 KOSS Corporation (KOSS)
                                                       OTC (Non-ATS)
                             ATS Issue Data
                                                       Issue Data
               Week Starting Total Shares Total Trades Total Shares Total Trades
                 12/7/2020       1,020         25          12,957       141
                12/14/2020       1,053         16           7,541       110
                12/21/2020        957          14          17,168        99
                12/28/2020     704,028       4,886       7,693,766    24,331
                  1/4/2021      49,563        281         222,980      1,144
                 1/11/2021      19,983        175         101,229       560
                 1/18/2021      84,142        495         787,582      3,456
                 1/25/2021    4,018,164     38,573      30,297,563 227,899
                  2/1/2021    1,333,623     13,244      12,227,611 119,411
                  2/8/2021     445,988       3,444       3,053,718    28,387
                 2/15/2021     691,320       4,516       4,781,106    25,017
                 2/22/2021    3,766,876     33,228      24,262,377 157,009




                                             101
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 104 of
                                     137



                                     Nokia Corp. (NOK)
                                                       OTC (Non-ATS)
                             ATS Issue Data
                                                       Issue Data
               Week Starting Total Shares Total Trades Total Shares Total Trades
                 12/7/2020 15,304,870       37,078      58,343,774    67,572
                12/14/2020 11,046,987       22,587      38,453,491    51,333
                12/21/2020 6,159,632        14,672      37,235,226    47,585
                12/28/2020 6,279,603        13,492      29,688,635    44,172
                  1/4/2021   17,024,361     27,365      53,243,415    61,097
                 1/11/2021 22,745,501       35,962      84,580,606    83,576
                 1/18/2021 14,035,810       33,249      51,579,395    62,745
                 1/25/2021 244,503,016 912,658 971,216,858 3,015,757
                  2/1/2021   54,513,067 158,502 316,724,886 1,331,964
                  2/8/2021 299,776,442 79,687 147,701,559 519,336
                 2/15/2021 14,722,906       35,643      57,872,060 199,581
                 2/22/2021 33,203,315       71,206 124,573,499 292,852

                              Tootsie Roll Industries, Inc. (TR)
                                                       OTC (Non-ATS)
                             ATS Issue Data
                                                       Issue Data
               Week Starting Total Shares Total Trades Total Shares Total Trades
                 12/7/2020     308,812        2,804      175,519       1,131
                12/14/2020     132,678        2,076      166,570       1,263
                12/21/2020      64,967         909        65,986       1,036
                12/28/2020     229,091        1,890      118,505       1,394
                  1/4/2021     213,383        2,306      130,491       1,305
                 1/11/2021      78,974        1,036       91,898       1,096
                 1/18/2021     103,510        1,486      117,530       1,046
                 1/25/2021    3,042,836      17,884     2,490,108     23,595
                  2/1/2021     555,331        5,426      688,068       7,510
                  2/8/2021     147,255        1,835      282,505       2,971
                 2/15/2021     243,438        2,667      294,213       2,313
                 2/22/2021     408,039        3,555      303,286       2,759




                                             102
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 105 of
                                     137



                                        Trivago N.V. (TRVG)
                                                           OTC (Non-ATS)
                                 ATS Issue Data
                                                           Issue Data
                   Week Starting Total Shares Total Trades Total Shares Total Trades
                     12/7/2020     594,590       2,369       3,598,268     7,023
                    12/14/2020     289,827       1,184       2,231,256     4,985
                    12/21/2020     432,013       1,722       1,486,232     2,818
                    12/28/2020     327,779       1,787       1,517,784     2,911
                      1/4/2021     303,728       2,063       1,809,736     4,073
                     1/11/2021     188,440       1,216       1,552,429     3,724
                     1/18/2021     331,955       1,480       1,230,548     2,732
                     1/25/2021    6,425,337     22,467      31,902,982    64,826
                      2/1/2021    1,326,788      6,219       8,513,999    21,645
                      2/8/2021    2,006,351      8,135      20,579,588    42,034
                     2/15/2021    1,232,263      6,429      12,896,577    33,888
                     2/22/2021    1,864,214      9,477      18,561,297    54,194

           355.    As reported by FINRA, the columns representing total shares are the total volume

   of shares of that security reported for that particular week. The total trades represent the total

   amount of transactions involving those shares.

           356.    For each of the Relevant Securities, total shares and total trades in dark

   exchanges peaked during the week of January 25, 2021 and February 1, 2021 during the period

   when restrictions were first placed on the Relevant Securities, and were higher than every other

   week recorded from December 2020 through February 2021.

           357.    Given that Retail Investors are generally not able to trade in dark pools and dark

   exchanges, the trading increases set forth in the FINRA reports indicate high institutional

   investor trading including high market maker activity around the time of the restrictions on the

   Relevant Securities, consistent with institutional investors taking advantage of the trading

   restrictions to exit their vulnerable short positions.




                                                     103
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 106 of
                                     137



          358.    Furthermore, FINRA OTC transparency data indicates that not only dark trading

   activity was elevated for the week of January   ,     , but that the bulk of that trading activity

   can be attributed to Citadel Securities.




                                                   104
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 107 of
                                     137



     SYMBOL                 BROKER                 VOLUME                        % OF VOLUME

       GME          CANACCORD GENUITY LLC                        ,                    %

       GME          CITADEL SECURITIES LLC           ,                       ,        %

       GME             CLEAR STREET LLC                          ,                    %

       GME       COMHAR CAPITAL MARKETS, LLC         ,               ,                %

       GME           COWEN AND COMPANY               ,                   ,            %

       GME             CUTTONE & CO., LLC                            ,                %

       GME               De Minimis Firms            ,               ,                %

       GME         G EXECUTION SERVICES, LLC             ,                   ,        %

       GME        HRT EXECUTION SERVICES LLC                         ,                %

       GME         INTERACTIVE BROKERS LLC                   ,                        %

       GME          JANE STREET CAPITAL, LLC         ,                   ,            %

       GME        LEK SECURITIES CORPORATION                         ,                %

       GME      NASDAQ EXECUTION SERVICES, LLC                   ,                    %

       GME     NATIONAL FINANCIAL SERVICES LLC               ,                        %

       GME        STOCKPILE INVESTMENTS, INC.                    ,                    %

       GME         TWO SIGMA SECURITIES, LLC         ,                   ,            %

       GME             UBS SECURITIES LLC            ,                   ,            %

       GME            VIRTU AMERICAS LLC             ,                   ,            %

       GME         WOLVERINE SECURITIES, LLC         ,                   ,            %

                             TOTAL                       ,                   ,




                                        105
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 108 of
                                     137



     SYMBOL                 BROKER                 VOLUME                                  % OF VOLUME

       AMC          CITADEL SECURITIES LLC                     ,                       ,        %

       AMC             CLEAR STREET LLC                                ,                        %

       AMC       COMHAR CAPITAL MARKETS, LLC           ,                       ,                %

       AMC           COWEN AND COMPANY                 ,                       ,                %

       AMC             CUTTONE & CO., LLC                                  ,                    %

       AMC               De Minimis Firms              ,                       ,                %

       AMC         G EXECUTION SERVICES, LLC               ,                       ,            %

       AMC        HRT EXECUTION SERVICES LLC           ,                   ,                    %

       AMC         INTERACTIVE BROKERS LLC                         ,                            %

       AMC          JANE STREET CAPITAL, LLC               ,                       ,            %

       AMC        LEK SECURITIES CORPORATION           ,                       ,                %

       AMC     NATIONAL FINANCIAL SERVICES LLC                         ,                        %

       AMC              SAGETRADER, LLC                                    ,                    %

       AMC        STOCKPILE INVESTMENTS, INC.                          ,                        %

       AMC         TWO SIGMA SECURITIES, LLC               ,                   ,                %

       AMC             UBS SECURITIES LLC                  ,                       ,            %

       AMC            VIRTU AMERICAS LLC                   ,                       ,            %

       AMC         WOLVERINE SECURITIES, LLC           ,                       ,                %

                             TOTAL                 ,           ,                       ,




                                        106
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 109 of
                                     137



          359.     For example, as shown in the first two tables from FINRA’s OTC transparency

   data reports for GME and AMC for the week of January 25, 2021, Citadel Securities represented

   roughly 50% of the non-dark pool over-the-counter market, the bulk of which is market maker

   volume. The scale of Citadel Securities’s business will have significant impact on short volume

   reports available from FINRA and provides insight into Citadel Securities’s short selling activity

   beyond what is disclosed in 13F reporting.

          360.    The FINRA short volume reports provide daily numbers for Short Volume and

   Total Volume (one-sided volume) for all dark OTC trading activity. The percentage of the total

   volume represented by short sales constitutes the percentage volume of sales that were sold

   short. The associated volume of each trade that is reported through such metrics provides

   supporting evidence that a party that executed off-exchange had a short position at the time the

   contributing trade was executed. If a market maker maintains a consistent short position, the

   market maker will report significant short volume through these metrics. When a market maker

   that has significant market share has been maintaining a long position and then switches the

   position to a short position that is subsequently maintained, there will be a significant increase in

   the short volume reported. Because Citadel Securities represents about        % of the dark trading

   activity, a large shift in the percentage of sales represented by short trades is highly likely to be

   caused by a shift in Citadel Securities’s position from long to short or vice versa.

          361.    The short volume reporting is consistent with a material change in Citadel

   Securities’s position on January    th,      , where Citadel Securities appears to have shifted from

   reporting shares sold long to shares sold short, as evidenced by the change in short ratios and

   short volume reported over the period. As seen in the table below, for each day, January        ,

   and    , the percentage of sells represented by shorts was about     %. On January       that amount



                                                    107
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 110 of
                                     137



   jumped to about     % where it plateaued for roughly days. Such an increase is highly unusual

   and consistent with Citadel Securities taking on a large short position and strongly implies that

   Citadel Securities was short during that time. The transacted volume and       F reports of other

   candidate market makers that might have contributed to the increase in the percentage of short

   volume relative to total volume does not suggest alternative explanations, given their relatively

   low share of the OTC market for the week of January        ,     .

                                                 SHORT SALE              TOTAL           % SHORT
      DATE        SYMBOL         SHORT             EXEMPT               VOLUME           VOLUME

                     GME         ,       ,             ,                 ,   ,                 %

                     GME         ,       ,             ,                 ,   ,                 %

                     GME          ,          ,        ,                  ,   ,                 %

                     GME             ,       ,         ,                 ,   ,                 %

                     GME          ,          ,         ,                 ,   ,                 %

                     GME          ,          ,         ,                 ,   ,                 %

                 The Structure and Characteristics of the Market Support the Existence
                                   of an Anticompetitive Agreement

          362.      The structure and characteristics of the market for securities, and in particular the

   lack of disclosure of short interest positions at any given time, make it conducive to collusion

   and anticompetitive conduct.

          363.      Courts, scholars, and government agencies such as the Department of Justice

   recognize that structural market factors can help assess whether collusive conduct in violation of

   the antitrust laws has occurred.

          364.      High Barriers to Entry. Markets with high barriers to entry are susceptible to

   anticompetitive collusion. Under basic economic principles, if there are high barriers to entry,



                                                    108
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 111 of
                                     137



   new entrants are unlikely to enter the market. If a broker dealer were to restrict trading in a

   security in high demand, new broker-dealers would enter the market to seek to benefit from the

   investors who wish to trade in the restricted security.

           365.    The financial services industry is characterized by substantial barriers to entry. An

   entrant seeking to become a broker dealer or a clearing firm would need specialized knowledge,

   several licenses and memberships, including memberships in organizations such as FINRA. In

   addition to licensure costs, compliance costs to adhere to industry and regulatory standards are

   also significant.

           366.    Additionally, entrants require significant amounts of cash or capital to deposit at

   clearinghouses such as the DTCC as collateral. The significant collateralization requirement also

   serves as a barrier to entry.

           367.    Technological infrastructure has also become a barrier to entry. As the financial

   services industry shifts more and more technology focused and as many successful participants

   are financial technology firms, a new entrant needs to have the necessary infrastructure and

   expertise to navigate the digital market. Many of the exchanges on which securities are traded

   are electronic and fully automated, and allow institutions to directly interact with the securities

   on offer on the exchanges. NASDAQ for example has been fully electronic since its inception in

   1971. Therefore, any potential market entrant would also need significant technological

   wherewithal and sophistication in order to participate in the financial markets.

           368.    High Fixed Costs and Low Variable Costs. Markets characterized by high fixed

   costs and low variable costs are susceptible to anticompetitive collusion. The markets for broker

   dealers, clearing firms and market making are defined by high fixed costs, low variable costs and

   benefit greatly from scale, particularly with regards to online broker-dealers and clearing firms.



                                                    109
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 112 of
                                     137



          369.     For example, online broker-dealers require significant IT infrastructure, software,

   and data security infrastructure in order to develop and maintain the applications through which

   investors trade. This is in addition to the licensure and regulatory costs described above.

          370.     Likewise, clearing firms require significant IT infrastructure, software, and data

   security infrastructure in order to facilitate the digital clearing and custodial services they

   provide to online broker dealers.

          371.     Similarly, many market makers are high frequency traders and rely on

   sophisticated software and algorithms to match the incoming bids and offers of the orders routed

   to them from either broker dealers or clearing firms.

          372.     In particular for HFT market makers, latency is critical in order to react quickly

   and engage in arbitrage strategies. As a result, HFT market makers invest significant effort and

   resources to increase the speed of trading technology to maximize their profits.

          373.     Variable costs are low. Once infrastructure is in place, it generally is not more

   expensive to handle 10,000 trades as opposed to 10, particularly in the high-tech financial

   services market as exists today.

          374.     Commoditization. The Relevant Securities are commodity (homogenous)

   products. A conspiracy involving commodity products can be easier to organize than one

   involving differentiated products. One share in a Relevant Security is identical to another share

   in that same security—it has similar, if not identical, characteristics and could be substituted for

   the another. Competition is purely based on price, in that a security purchased at a particular time

   could be more valuable than a security purchased at another time, depending on market

   conditions. Markets in which the product is commoditized are susceptible to anticompetitive

   collusion.



                                                    110
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 113 of
                                     137



           375.    Additionally, securities’ prices are linked globally. The price of a security being

   traded on U.S. exchanges will be nearly identical to the price of the security being traded on a

   foreign exchange.

           376.    For example, one share in stock X is functionally identical to another share of

   stock X. The only determinant of price is the relative supply and demand in investors who want

   to buy or sell shares in stock X.

           377.    Retail Investors Subject to the Conspiracy Are a Captive Market. In a competitive

   market, if a consumer desires a product or service that is not offered by a particular seller, the

   consumer can go to a different seller who does offer the desired product or service.

           378.    For example, in a competitive market for broker dealers, if a broker does not offer

   a particular security the investor desires, investors will move assets and invest with a broker

   dealer that does offer trading in that security.

           379.    In the short run, however, an investor is generally locked into broker dealers that

   they already invest with.

           380.    Generally, the process to open a trading account with a broker dealer takes a short

   amount of time, typically several days. Depending on the type of account, the waiting period

   may be longer or shorter. For example, opening a cash account typically takes a shorter amount

   of time than opening a margin account or options account because a broker dealer may require

   additional levels of proof of financial solvency such as a credit score check.

           381.    If the coordinated activity however occurs in a short time window, investors have

   no opportunity to switch or change broker dealers, and are investing without market power.




                                                      111
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 114 of
                                     137



           382.    Even those Retail Investors who had accounts with different broker dealers may

   have been precluded from purchasing the Relevant Securities as a result of the coordinated

   conduct without any ability to purchase the Relevant Security of their choice.

           383.    In a competitive market, Retail Investors with accounts in different broker dealers

   could simply purchase a security with another broker dealer that did not restrict trading.

           384.    Indeed, Retail Investors may have accounts with multiple broker dealers for a

   variety of reasons, including the selection of securities available to trade in.

           385.    If, however, multiple broker dealers restrict trading at exactly or near exactly the

   same time, even those Retail Investors with accounts at multiple brokerages would be restricted

   from purchasing the security they desire.

           386.    The Market is Opaque Rather than Transparent. While the financial markets are

   generally regulated, important aspects of it are opaque and render the market susceptible for

   collusion.

           387.    For example, it is generally impossible to know who owns a short interest at any

   given time despite the prevailing regulatory regime.

           388.    While it is possible that a large investor may publicly disclose its present short

   positions, it would be unusual as it would give competitors an insight into their strategy. Also,

   because there is no way to verify if that were truly the short position the investor had at that

   moment, it could just as well be disinformation.

           389.    Investment managers who have at least $100 million in assets under management

   are required by the SEC to file a Form 13F every quarter. Congress created the 13F requirement

   in 1975 with the intention of providing investors transparency into the holdings of the U.S.’s

   institutional investors.



                                                    112
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 115 of
                                     137



          390.     Notwithstanding Congress’s intent to provide transparency to investors and the

   public, these reporting requirements are significantly unregulated and subject to abuse. Form 13F

   filings have earned a reputation for being unreliable. Indeed, a 2010 SEC Report titled “Review

   of the SEC’s Section 13(f) Reporting Requirements” found that “no SEC division or office

   regular or systemic review of the data filed on Form 13F” and that “no SEC division or office

   monitors the Form 13F filings for accuracy and completeness.” The SEC found that, “[a]s a

   result, many Forms 13F are filled with errors or problems, which may not be detected or

   corrected in a timely manner.”

          391.     Another issue with Form 13F filings is that disclosures are limited. Investors are

   only required to report long positions, and put and call options, but not short positions.

          392.     Because Form 13F filings do not require disclosure of short positions, Form 13F

   filings can paint a misleading picture as some investment firms generate most of their returns

   from short selling while using long positions as “hedges.”

          393.     A “hedge” is an investment made with the intention of reducing the risk of

   another investment. For example, an investor with a large short position in a particular security

   may hedge by taking an offsetting or opposite position in a related or the same security. Hedging

   can also be accomplished through the use of derivative securities such as options.

          394.     Another issue with Form 13F filings is the temporal scope of the require

   reporting. 13F filings may be filed up to 45 days after the end of a quarter. As a matter of

   practice, 13F filings are submitted as late as possible. 13F filings, however, do not require

   reporting of when a particular position was purchased. Therefore, a reported position could have

   been purchased at any time within the four months prior to the filing.




                                                   113
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 116 of
                                     137



            395.      Additionally, if a 13F filing reports purchases of put or call options, there is no

   requirement to report the strike price or the expiry date, i.e., the price at which an option can be

   exercised and the date the option contract becomes invalid respectively.

            396.      FINRA also requires member firms to report short interest positions in all equity

   securities twice a month. Reporting is typically on the 15th and the last day of each month with

   an adjustment to the previous business day if those days themselves do not fall on a business day.

            397.      Even though FINRA publishes short interest reports publicly, as a general matter,

   it takes several days before the information is published and the number of shares sold short in

   the market may have changed dramatically.

            398.      Further, the FINRA reports do not account for smaller intervals of time. Dramatic

   changes in short interest may occur within a particular window and not be captured in the

   regularly required report.

            399.      Generally, it is not possible to ascertain which investor has a short position in a

   particular security at any particular time unless the position is voluntarily publicly disclosed by

   the holder of the short position. Unsurprisingly, very few investors voluntarily disclose their

   short positions.

            400.      Although it is not possible to detect which specific investors are in large exposed

   short positions, the companies issuing affected securities are aware and can (and sometimes do)

   confirm if their stock has been significantly shorted or had been subject to a short squeeze.

            401.      For example, in GameStop Corp.’s Form 10-K filed March 23, 2021, GameStop

   Corp. specifically identified a “short squeeze” as a potential risk factor. Further, GameStop Corp.

   disclosed that it experienced a short squeeze and that a large proportion of its stock had been sold

   short.



                                                       114
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 117 of
                                     137



                  A large proportion of our Class A Common Stock has been and may
                  continue to be traded by short sellers which may increase the
                  likelihood that our Class A Common Stock will be the target of a short
                  squeeze. A short squeeze has led and could continue to lead to volatile
                  price movements in shares of our Class A Common Stock that are
                  unrelated or disproportionate to our operating performance or
                  prospects and, once investors purchase the shares of our Class A
                  Common Stock necessary to cover their positions, the price of our
                  Class A Common Stock may rapidly decline.

          402.    In the wake of the 2008 financial crisis, Congress legislated wide sweeping

   reforms designed at increasing transparency and curtailing the abuses within the financial sector

   that led to the crisis in the form of the Dodd-Frank Wall Street Reform and Consumer Protection

   Act of 2010.

          403.    Section 929X of the Dodd-Frank Act, titled “Short Sale Reforms,” empowered

   the SEC to promulgate rules providing for the public disclosure of short positions to occur

   monthly at a minimum.

          404.    To date, the SEC has not promulgated rules related to Section 929X.

          405.    Additionally, Congress placed into Dodd-Frank an antitrust savings clause:

                  Nothing in this Act, or any amendment made by this Act, shall be
                  construed to modify, impair, or supersede the operation of any of
                  the antitrust laws, unless otherwise specified. For purposes of this
                  section, the term “antitrust laws” has the same meaning as in
                  subsection (a) of section 12 of title 15, except that such term
                  includes section 45 of title 15, to the extent that such section 45
                  applies to unfair methods of competition.

                  15 U.S.C. § 5303.

                                           Motive to Collude

          406.    Defendants shared a common motive to conspire—to prevent themselves, and

   their peers, from hemorrhaging losses totaling potentially billions of dollars. The Market Maker

   Defendants and hedge funds possessed significant short positions in the Relevant Securities

   during the period in question. As the prices of the Relevant Securities went up, the exposure of

                                                  115
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 118 of
                                     137



   the Market Maker Defendants increased, and their losses were potentially infinite if they did not

   stop the surge of the Relevant Securities.

          407.     As of December 31, 2020, Citadel Securities (the market maker), reported $57.5

   billion in “securities sold, not yet purchased, at fair value,” which is likely representative of

   Citadel Securities’s short position.

          408.     As Retail Investors bought securities and call options, Citadel Securities

   developed a large short position as a function of its market making, i.e., taking the other side of

   buy orders or purchased call option orders. As the price of the Relevant Securities increased,

   Citadel Securities’s short position became increasingly distressed subjecting to a potential Short

   or Gamma Squeeze. Citadel Securities stood to benefit from the one-sided restrictions by taking

   the other side of the Retail Investors’ sell orders that resulted from the one-sided sell-only

   restrictions placed by the Brokerage and Clearing Defendants. By taking the other side of the sell

   orders, Citadel Securities could return the stock it had borrowed to sell short, and benefit from

   the rapidly decreasing price of the Relevant Security, mitigating its loss as a result of the Short or

   Gamma Squeeze.

          409.     Citadel Securities stood to gain from stopping the short squeeze by purchasing

   new short positions at the peak of the Relevant Security price increase and then profiting from

   the artificial decrease in share price after the trading restriction on January 28th. While there is

   no publicly available data to show that Citadel Securities was one of the parties that opened up

   new short positions on January 25—recall there is no requirement that hedge funds disclose their

   short positions except as described above—it would be in Citadel Securities’s best interest to

   open up new short positions if Citadel Securities planned to leverage its relationships to halt

   trading of GameStop and other Relevant Securities and artificially depress their share price.



                                                    116
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 119 of
                                     137



          410.    Public Form 13F disclosures by market makers such as Citadel Securities reveal

   large short positions in Relevant Securities such as GME and AMC that grew substantially from

   December 2020 to March 2021. While short positions in stocks, call options and put options are

   not disclosed on Form 13F, long positions in put options are disclosed, and long put options

   represent short positions on the underlying stock.

          411.    On Citadel’s December 31, 2020 13F filing, which consolidated Citadel’s

   advisory and market making subsidiaries, Citadel disclosed a long put option position on

   2,224,500 shares of GameStop stock and a long put option position on 1,749,200 shares of AMC

   stock. On Citadel’s March 31, 2021 13F filing, Citadel disclosed that the GameStop long put

   option position had grown by almost 50% to 3,271,400 shares and that the AMC long put option

   position had grown by 224% to 5,676,200 shares.

          412.    Further, given Robinhood relies on payment for order flow for revenue, and sold

   a significant portion of its order flow to Citadel Securities, the two firms had motive to cooperate

   due to their close economic relationship. Indeed, in several internal conversations, high level

   executives of Robinhood and Citadel Securities stated the firms had a “strong relationship” and

   that the relationship was a “partnership.”

          413.    The Clearing Defendants, similarly, had reason to participate and join in the

   conspiracy. NSCC is a member driven corporation. Member clearing agents report the trades

   they receive to their parent organization, the DTCC. The DTCC then ensures the transfer of

   money to the seller’s broker account and the transfer of security ownership to the buyer’s broker

   account. To mitigate the risk of settling trades, the DTCC requires that NSCC member clearing

   firms put up collateral, which the NSCC member clearing firms typically pass down to

   brokerages. The DTCC collateral requirement changes depending on the perceived risk of the



                                                   117
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 120 of
                                     137



   order, since if one side of the trade defaults, and the broker cannot cover the loss, DTCC member

   firms are on the hook for completing the trade. In other words, if a member became bankrupt,

   DTCC and its member clearing agents would be on the hook for the short positions taken by that

   member.

           414.    On the morning of January 28, DTCC demanded that its member clearing agents

   supply additional collateral to support these trades.

           415.    The collateral demand by DTCC, however, also provided the perfect cover to

   progress the scheme. As revealed by internal Robinhood documents, the decision to PCO had

   likely already been made before the margin call came.

           416.    The broker dealers, who position themselves as services for the benefit of

   retailers, succumbed to the demands of their clearing agents because of their own financial

   interests. Broker dealers receive an inordinate amount of revenue from market makers like

   Citadel Securities from payment for order flow.

           417.    To reiterate, Robinhood makes up a vast majority of its revenue, somewhere

   between 60% to 70%, by selling its order flow. Robinhood has reportedly earned a staggering

   $331 million in revenues from payment for order flow in the first quarter of 2021, more than

   tripling its earnings from the first quarter of 2020, a record year in which Robinhood earned

   $687 million in payment for order flow revenue, up 514% year-on-year from 2019. From 2015 to

   2016, an incredible 80% of Robinhood’s revenue came from payment for order flow.

   Robinhood’s CEO Vladimir Tenev also testified before the Congressional House Committee on

   Financial Services that Citadel Securities’s payment for order flow revenue is Robinhood’s

   primary source of revenue. This essentially proves that Robinhood’s client is not the retail

   investor themselves, but rather Citadel Securities. In this relationship, it is actually the retail



                                                     118
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 121 of
                                     137



   investor who is Robinhood’s product; the product for which Citadel Securities is in fact buying

   and paying Robinhood a premium.

          418.     As mentioned above, Robinhood is not alone in profiting from payment for order

   flow. Every Brokerage Defendant, Apex, and ETC sell order flow. Additionally, Citadel

   Securities is either the largest or one of the largest payors for order flow for most of them.

          419.     Robinhood and other broker dealers had every motivation to join the

   anticompetitive scheme to restrict trading to benefit their real clients: the clearing agents and the

   Market Maker Defendants. Robinhood has gamified the investing market to funnel young

   investors onto their platform, ultimately to offer the Market Maker Defendants a birds’ eye view

   of both sides of their trades, enabling companies like Citadel to benefit from simultaneously

   making and playing the market.

                                Actions Against Unilateral Self Interest

          420.     If broker dealers were competing against one another, then it would not be in

   their self-interest to stop trading on their platforms for the Relevant Securities. Broker-dealers

   benefit from investors transacting on their platforms. Akin to any individual purchasing from a

   seller of a service—the seller benefits from more sales. Delisting the Relevant Securities and

   preventing investors from entering more transactions was no different from turning away a

   paying customer. Broker dealers acted against their self-interest by preventing any transactions.

          421.     The actions taken by the clearing brokers, i.e., preventing trades in the Relevant

   Securities, was similarly an action against their economic and unilateral self-interest. Clearing

   firms such as Apex act as a third party to each trade facilitated by broker dealers. Generally,

   clearing firms earn a transaction fee every time they make a trade. The clearing fee is imposed no

   matter which brokerage firm the trader uses. By stopping the trades in the Relevant Securities,



                                                    119
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 122 of
                                     137



   clearing firms turned away the clearing fees that form the very basis of their business models.

   This conduct is against the economic interests of the Defendants if undertaken individually.

           422.    Further, Apex’s decisions on January 28, 2021 were against its self-interest. By

   restricting trading and specifically the purchase of the Relevant Securities, Apex was unable to

   generate revenue from users purchasing the Relevant Securities shares and Apex thereafter, using

   these shares as stock loans to generate even further revenue.

           423.    Market makers such as Citadel Securities pay broker dealers for order flow.

   Payment for order flow is a practice where a broker-dealer (e.g., Robinhood) will sell its

   customers’ orders to a high frequency trading firm (“HFT”) or market maker (e.g., Citadel

   Securities). The HFT or market maker in turn “fills” the order by buying or selling the shares as

   requested, while simultaneously using a computer algorithm to pocket the difference between the

   price the customer was willing to sell at versus the price the market maker was able to get to fill

   the order.

           424.    Market makers compare the bid prices (i.e., the price investors are willing to

   purchase at) against the offer prices (i.e., the price investors are willing to sell at). The difference

   between the two is known as the “spread.” Market makers maintain an inventory of securities

   from their own trading and match incoming buy and sell orders in order to fill those orders.

           425.    Market makers such as Citadel Securities pay a significant premium or “rebate”

   to route a broker’s order flow. It stands to reason that routing order flow is a lucrative endeavor

   given the significant sums that market makers pay for order flow. Robinhood for example

   generated $682 million in payment-for-order flow revenue. All brokerage firms that sell order

   flow are required by the SEC to disclose who they sell order flow to. Rule 606 requires broker-

   dealers to publish quarterly reports disclosing the entities to which they route their order flows



                                                     120
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 123 of
                                     137



   and the relationship between the broker-dealer and the entity. Robinhood, for example, receives

   $260 per $1,000,000 of their order flow traded, and E*Trade makes about $22 per the same

   volume.

           426.     By restricting trading, any entity that sells its order flow is acting against its

   economic interest. As order flow revenue is generated by volume, restricting trading necessarily

   diminishes the volume the entity selling order flow may receive for the period that trading is

   restricted.

           427.     As mentioned above, according to public filings, all of the Brokerage Defendants

   and Clearing Defendants sell order flow.

           428.     Likewise, the Market Maker Defendants who pay for order flow and make money

   through the spreads benefit from a large volume of transactions. Therefore, any restrictions in

   any entity it purchases order flow from would ultimately negatively impact their bottom line as it

   would reduce the volume of orders and the number of spreads it can pocket.

           429.     Finally, trading restrictions were only placed on buying and only affected Retail

   Investors because short sellers, such as the Market Maker Defendants, still had the ability to

   purchase shares of the Restricted Securities via other avenues, such as dark pools, including the

   Market Maker Defendants own internal dark exchanges.

           430.     Taking at face value Brokerage Defendants’ explanation that they were concerned

   with market volatility, it does not justify their one-sided restrictions on the Relevant Securities.

           431.     Volatility in the securities markets is often associated with large swings in prices

   in one direction or another. Volatility is usually characterized by wide price fluctuations and

   heavy trading.




                                                      121
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 124 of
                                     137



           432.       There is no provision under SEC, DTCC, NSCC, or FINRA rules that allows

   broker-dealers to unilaterally decline, restrict, or prevent trading because market conditions make

   executing trading burdensome or unprofitable.

           433.       Rather, broker-dealers are expected to ensure that they can continue to provide

   access to the securities markets even during periods of extreme market volatility.

           434.       FINRA reiterated this obligation in Regulatory Notice      - , which was issued on

   March    ,     , directly in response to the events giving rise to this action. FINRA was clear:

   “Member firms should maintain strong procedures, thoughtfully crafted in advance, to

   reasonably ensure that they can continue to provide investors access to the securities markets

   during times of extreme market volatility, as in the past several months.”

           435.       There are recognized mechanisms by which trading can be halted during

   volatility. Exchanges such as NASDAQ have already implemented these mechanisms.

           436.       For example, exchanges have put in place “circuit breakers” to halt trading in the

   event the market is too volatile.

           437.       Similarly, the Limit Up-Limit Down mechanism is a tool intended to prevent

   trades in securities from occurring outside of specified price bands to address extraordinary

   market volatility. If trading occurs beyond the established price bands, a five-minute trading

   pause is implemented to allow market volatility to smooth. This is also known as a single stock

   circuit breaker.

           438.       In both cases, circuit breakers halts trading entirely, both buying and selling.

           439.       This is not what Defendants did, however, and instead only restricted purchasing

   of securities by Retail Investors.




                                                      122
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 125 of
                                     137



           440.    Further, the restrictions were not placed on the entire market—institutional

   investors could still buy and sell without limitations. It makes little economic sense that

   restriction on purchasing on only Retail Investors could address volatility concerns when

   institutional investors could still affect the market.

                       Traditional Factors Suggesting Conspiracy or Agreement

           441.    The conduct at issue here comprised of factors suggesting conspiracy or illegal

   agreement.

           442.    Opportunities to Coordinate and Collude. On or around January 28, 2021,

   Defendants had numerous opportunities to coordinate and collude and did, both interfirm and

   intrafirm.

           443.    For example, Apex coordinated the trade restrictions on the Relevant Securities

   by verbally informing certain Brokerage Defendants to restrict trading in the Relevant Securities.

           444.    Webull, for example, confirmed in written submissions to the Congressional

   House Committee on Financial Services that the communications between Apex and Webull

   regarding which securities would be subject to trading restrictions on January 28, 2021 were

   verbal in nature.

           445.    The industry is close-knit and built on preexisting relationships. The industry is

   replete with specialized jargon, terms of art, and specialized terminology, providing those in the

   industry a common language.

           446.    Additionally, individuals within the industry frequently move from one market

   participant to another or invest financial resources in other market participants.

           447.    For example, in April 2021, Bloomberg and other sources reported that Alpaca

   added Robinhood’s ex-COO as an investor.



                                                     123
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 126 of
                                     137



           448.   Additionally,             , Citadel Securities’s Head of Execution Services, had

   prior working relationships through FINRA with Josh Drobnyk, Robinhood’s Vice President of

   Corporate Communications during the relevant period.

           449.   As a result of the close-knit nature of the industry and the prior relationships

   developed by those within the industry, there are a high number of interfirm communications

   which tend provide opportunities to exchange information and to render a market susceptible to

   collusion. Given the events of late 2020 and January 2021, the participants in the conspiracy had

   numerous opportunities to conspire to restrain trade—restrict trading and did so.

           450.   Many of the Brokerage Defendants have prior relationships with the Clearing

   Defendants. Robinhood for example previously used Apex as its clearing firm before Robinhood

   began self-clearing in 2018.

           451.   Additionally, documentary evidence reveals numerous suspicious interfirm

   communications leading up to, during, and after the imposition of the restrictions on January 28,

   2021.

           452.   For example, high level executives of Citadel Securities and Robinhood

   coordinated communications in the weeks before, and numerous times the day before, the

   restrictions were ultimately imposed.

           453.   Additionally, Robinhood’s Drobnyk appeared to accept Citadel Securities’s

             proposition made on January 20, 2021.

           454.   High level employees of E*Trade and Citadel Securities exchanged

   communications throughout January 28, 2021 to confirm certain orders were cancelled.

           455.   Further, high-level employees communicated after January 28, 2021, partly to

   coordinate messaging in response to the restrictions and also to enforce continuing restrictions.



                                                  124
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 127 of
                                     137



           456.    For example, Citadel Securities’s                connected Citadel Securities’s

           and Robinhood’s Drobnyk to coordinate the narrative in response to the January 28, 2021

   trading restrictions.

           457.    Although Apex itself had lifted its restrictions as of January 29, 2021, Apex

   warned high-level Robinhood employees of efforts to purchase the Relevant Securities even as

   Robinhood was continuing to restrict trading. Apex had no economic justification to warn

   Robinhood but to ensure the restrictions were maintained. Any collateral requirements Apex may

   have been subjected to would be independent of Robinhood.

           458.    Further, Apex presently has and at the relevant time period had no economic

   relationship with Robinhood. Although Robinhood had previously used Apex as a clearing

   broker, Robinhood became self-clearing in 2018.

           459.    Evidence of Concealment and Pretext. Practices that while not in themselves

   illegal may still lead to the inference of the existence of a conspiracy.

           460.    As noted above, communications and coordination occurred between Defendants

   verbally. Verbal or telephonic communication is difficult to detect and does not leave a paper trail

   to the alleged wrongdoing leading to an inference that those engaged in verbal coordination were

   attempting to conceal their communications. Therefore, the coordination of the trading

   restrictions by verbal or telephonic means supports the inference of an illegal conspiracy.

           461.    Notably, while high-level employees of Citadel Securities and Robinhood

   coordinated communications via email or via internal chat channels, the emails appear cryptic

   with little indication about the subject matter communicated between the participants, reserving

   substantive discussions of their dealings to unrecorded telephone calls. This evidences a

   deliberate attempt to obscure the actual substance of the communications.



                                                    125
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 128 of
                                     137



           462.     Additionally, participants attempted to conceal communications by merely

   copying lawyers, with no indicia of asking for legal advice.

           463.     For example, Citadel Securities’s              copied internal counsel on emails

   sent to Robinhood’s Drobnyk on January 30, 2021, connecting Citadel Securities’s

   with Robinhood’s Josh Drobnyk in order to coordinate messaging regarding the restrictions

   placed on January 28, 2021.

           464.     Pretextual statements and explanations also support an inference of an illegal

   conspiracy.

           465.     For example, statements by representatives of Robinhood and high-level

   executives provided changing and conflicting explanations for the trading restrictions.

           466.     On January 28, 2021, Robinhood posted on its blog that market volatility was the

   reason for the restrictions.

           467.     Additionally, Vlad Tenev, Robinhood’s CEO, told the media that the shutdowns

   were unrelated to Robinhood’s liquidity and that Robinhood did not have a liquidity problem.

           468.     Robinhood later blamed the trading restrictions to being unable to meet the

   deposit requirements imposed by clearinghouses.

           469.     When Tenev offered testimony to the House Financial Services Subcommittee,

   when asked if Robinhood had negotiated with counterparts to restrict trading in the Relevant

   Securities, he stated that trading restrictions were put in place to meet regulatory deposit

   requirements imposed by DTCC affiliate NSCC. This explanation, however, is either incomplete

   or misleading.

           470.     To clear and settle customer transactions, each trading day by 10 a.m. Eastern

   Time, clearing agents like Robinhood Securities have to meet the deposit requirements required



                                                   126
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 129 of
                                     137



   by DTCC to support their customer trades between the trade date and the date the trades settle.

   On some days clearing brokerage firms may be able to withdraw money, whereas on other days

   it may be required to deposit money, depending on that day’s requirement. Clearing brokerage

   firms like Robinhood Securities also know that the DTCC may assign a volatility multiplier on

   certain securities which the DTCC perceives as having more risk.

          471.    Based on the orders its customers are placing, Robinhood Securities has the

   ability to: (i) monitor its anticipated DTCC deposit requirements in real time (or near real time);

   and (ii) monitor its ability to meet anticipated or actual DTCC deposit requirements in real time

   (or near real time). Based on the relationship between the affiliated entities, Robinhood Financial

   would have access to the same information on anticipated DTCC requirements. At any given

   time Robinhood Financial and Robinhood Securities would know how much collateral the

   DTCC may ask Robinhood Securities to post to cover the trades its customers have placed.

          472.    Michael Bodson, the President of DTCC, later stated in testimony to the House

   Financial Services Subcommittee that the decision to restrict trading was internal to Robinhood

   and DTCC and NSCC did not have discussions about restricting securities.

          473.    Indeed, Robinhood’s decision to move the Relevant Securities to “position

   closing only” (“PCO”), i.e., only allowing users to sell but not buy, was made extraordinarily

   quickly.

          474.    While Robinhood received an approximately $3 billion dollar margin call email

   from DTCC at 5:11 a.m., the decision to affect the PCO was made shortly after the receipt of the

   email. It is highly unlikely that the decision to move securities to PCO in such a short time span

   without premeditation.




                                                   127
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 130 of
                                     137




          475.     Further, internal Robinhood communications indicated that Robinhood personnel

   knew shortly after the margin call that “all firms” “are doing the same thing,” i.e., restricting

   buying but not the selling of the Relevant Securities.

          476.     Additionally, internal Robinhood communications seems to contradict Tenev’s

   public statements that Robinhood did not have liquidity issues.




                                                    128
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 131 of
                                     137




          477.    As shown, Tenev’s testimony was, at best, misleading.

          478.    Pretextual statements were not limited to Robinhood. Apex and its highly level

   executives also made pretextual statements.

          479.    For example, on January 28, 2021, Apex cited increasing collateral requirements

   for the restrictions it imposed on trading including through other Brokerage Defendants.

          480.    Later, on February 9, 2021, in its letter to the New Jersey Office of the Attorney

   General, Apex stated that trading restrictions were not due to any actual increased collateral

   requirements imposed by the NSCC, but rather “potential” future collateral requirements that

   may be imposed.




          481.    In addition, on March 4, 2021, Apex’s President, Tricia Rothschild stated that



                                                   129
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 132 of
                                     137



   Apex restricted “due to anomalous information.” Additionally, she stated that “We [i.e., Apex]

   have headroom in terms of the capital available to us on our balance sheet. We have lines of

   credit that we can call on as needed.” Ms. Rothschild further said “I would say it was not a

   similar situation to Robinhood.” Taken at face value, Ms. Rothschild’s statements meant that

   Apex was not faced with a collateralization problem, yet restricted trading nonetheless.

          482.     Beyond statements, the opaque nature of the market as described above serve to

   conceal evidence of the illegal agreement.

          483.     Because of the temporal nature of the reporting requirements, short sellers are

   able to take advantage of reporting gaps to disguise collusive behavior. Participants in the illegal

   conspiracy were able to exit their short positions and are only required to report periodically

   without having to report the suspect transactions individually.

          484.     Further, because what reporting there is only identifies aggregate short interest

   and not by particular investor or market maker, individual anticompetitive conduct is hidden

   from view.

          485.     Additionally, because much of the trading in the Relevant Securities recurred on

   so-called “dark” pools or markets, and in particular the Market Maker Defendants’ own internal

   dark market maker units, participants in the illegal scheme are able to mask the suspect

   transactions. Because dark pools and dark markets are not directly accessible to the public and

   “lit” exchanges provide for anonymous trading, participants in the illegal scheme were able to

   transact without tipping off retail investors about who the trader is, the size of the blocks being

   traded, or even the execution price of the trade.

          486.     Government Investigations. The conduct at issue has not escaped the eyes of

   government actors and are the subject of several investigations. Government investigations are



                                                   130
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 133 of
                                     137



   indicative of anticompetitive collusion.

           487.   The Congressional House Financial Services Committee issued subpoenas and

   held three highly publicized hearings related to the trading restrictions imposed on January 28,

   2021.

           488.   In addition to proceedings in the House of Representatives, the Senate Banking

   Committee also held hearings related to the trading restrictions.

           489.   According to The Wall Street Journal and public filings, the fraud division of the

   Department of Justice and the San Francisco U.S. Attorney’s office have sought information

   about the restrictions imposed on January 28, 2021 from brokers and social media companies.

           490.   The SEC appears to be investigating the restrictions imposed on January 28,

   2021. On June 9, 2021, GameStop Corp. reported in its 10-Q report that “On May 26, 2021, we

   received a request from the Staff of the SEC for the voluntary production of documents and

   information concerning a SEC investigation into the trading activity in our securities and the

   securities of other companies. We are in the process of reviewing the request and producing the

   requested documents and intend to cooperate fully with the SEC Staff regarding the matter. This

   inquiry is not expected to adversely impact us.”

           491.   Robinhood’s Focus Report filed with the SEC on February 26, 2021, confirmed

   many of these investigations and revealed that Robinhood had received inquiries related to the

   trading restrictions from the U.S. Attorney’s Office of the Northern District of California, the

   SEC’s Division of Examinations, FINRA, the New York Attorney General’s Office and the

   offices of other states’ Attorneys General, e.g., the Attorneys General of Texas and New Jersey,

   state securities regulators and from Congress.

           492.   On or around June 22, 2021, the San Francisco office of the Department of



                                                    131
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 134 of
                                     137



   Justice issued grand jury subpoenas related to the trading restrictions on or around January 28,

   2021 as described herein.

            493.   Finally, on June 30, 2021, FINRA announced that Robinhood was ordered to pay

   a record financial penalty of $70 million for “systemic supervisory failures and significant harm

   suffered by millions of customers.” According to FINRA, “the sanctions represent the largest

   financial penalty ever ordered by FINRA and reflect the scope and seriousness of the violations.”

                                        CLAIMS FOR RELIEF
                                              COUNT ONE
                           CONSPIRACY TO RESTRAIN TRADE
                    IN VIOLATIONOF SECTION 1 OF THE SHERMAN ACT,
                                      15 U.S.C. § 1
                                 (Against all Defendants)

            494.   Plaintiffs hereby incorporate by reference the factual allegations as set forth

   above.

            495.   The Defendants conspired and entered into an anticompetitive scheme to fix,

   raise, stabilize, maintain or suppress the price of the Relevant Securities, and in order to restrain

   trade.

            496.   Faced with potentially disastrous losses due to their short positions, the Market

   Maker Defendants, rather than engage in competition or the ordinary activities of the market,

   conspired, combined, agreed and colluded with the Brokerage Defendants and Clearing

   Defendants to restrict purchases in stocks by retailer investors and to manipulate and artificially

   suppress the price of stock, through which they could cover their short positions.

            497.   Defendants conspired and agreed with one another with the intent to artificially

   lower the price of the relevant stocks.

            498.   Defendants coordinated a collective shutdown of the stock brokerage market with

   respect to the Relevant Securities, prohibiting market participants with the exception of

   institutional investors such as the Market Maker Defendants from purchasing stock in the


                                                    132
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 135 of
                                     137



   Relevant Securities. Pursuant to the conspiracy, the restriction of stock purchases resulted in a

   sell-off of stocks, driving down prices in the Relevant Securities to levels that would not have

   been obtained, but for the conspiracy, combination, agreement and restraint of trade.

          499.     In furtherance of the conspiracy, combination, agreement and restraint of trade,

   before and before the opening of the stock market on January 28, 2021, the Market Maker

   Defendants increased short volumes in anticipation of short calls on January 28, 2021.

          500.     In furtherance of the conspiracy, combination, agreement and restraint of trade,

   the Brokerage Defendants prohibited or unreasonably restricted the purchases of shares of the

   Relevant Securities by Plaintiffs in restraint of trade.

          501.     As a direct and intended result of Defendants contract, combination, agreement

   and restraint of trade or conspiracy, Defendants caused injury to Plaintiffs by restricting

   purchases of Relevant Securities. The Brokerage Defendants deactivated the buy option on their

   platforms and left Plaintiffs with no option but to sell shares of the stocks on their platforms.

   Plaintiffs and Class members, faced with an imminent decrease in the price of their positions in

   the Relevant Securities due to the inability of Retail Investors to purchase shares, were induced

   to sell their shares in the Relevant Securities at a lower price than they otherwise would have, but

   for the conspiracy, combination, agreement and restraint of trade. Additionally, Class members

   that would have purchased more stock in the Relevant Securities given the upward trend in price

   could not do so.

          502.     The Brokerage Defendants, in particular those who self-clear, disguised their

   wrongdoing by offering pretextual explanations for the restrictions, claiming they were subject to

   increased collateral requirements, when in reality the decision to restrict had already been made.

          503.     Pursuant to the contract, combination, agreement, conspiracy and restraint of

   trade, the Brokerage and Clearing Defendants continued to route sell orders to the Market Maker

   Defendants to purchase stocks at the artificially deflated prices to reduce their distressed short

   positions. The Market Maker Defendants, who were in exposed short positions due to the short

   and gamma squeeze, purchased the artificially price-suppressed stocks to cover their short

                                                    133
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 136 of
                                     137



   positions and concealed their activity by using off-exchange trading, including their own internal

   dark market maker units.

          504.     To induce compliance and to limit the effects other Brokerages could have in

   disrupting Defendants’ anticompetitive scheme, the Clearing Defendants raised the fees and/or

   removed the ability to fill purchases of the Relevant Securities to the brokerages that clear

   through them, further facilitating the Market Maker Defendants covering of their short positions

   in furtherance of the conspiracy.

          505.     Defendants’ anticompetitive and unlawful conduct is per se illegal.

          506.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

   Class members were injured in their business and property.

          507.     Plaintiffs and the Class further seek equitable relief pursuant to Section 16 of the

   Clayton Act, 15 U.S.C. § 26, and other applicable law, to correct the anticompetitive effects

   caused by Defendants’ unlawful conduct.

                                       PRAYER FOR JUDGMENT

          WHEREFORE, Plaintiffs request that the Court enter judgment on their behalf and on

   behalf of the Class defined herein, by adjudging and decreeing that:

          a.      This action may proceed as a class action, with Plaintiffs serving as Class

   Representatives, and with Plaintiffs’ counsel as Class Counsel;

          b.       Defendants have contracted, combined, and conspired in violation of Section 1 of

   the Sherman Act, 15 U.S.C. § 1, and that Plaintiffs and the Class have been injured in their

   business and property as a result of Defendants’ violations;

          c.       Plaintiffs and the Class are entitled to pre-judgment and post-judgment interest on

   the damages awarded them, and that such interest be awarded at the highest legal rate from and

   after the date this class action complaint is first served on Defendants;

          d.       Defendants are to be jointly and severally responsible financially for the costs and

   expenses of a Court-approved notice program through post and media designed to give

   immediate notification to the Class;

                                                   134
Case 1:21-md-02989-CMA Document 416 Entered on FLSD Docket 09/22/2021 Page 137 of
                                     137



             e.         Plaintiffs and the Class recover their costs of this suit, including reasonable

   attorneys’ fees as provided by law;

             f.         Plaintiffs and the Class are entitled to equitable relief appropriate to remedy

   Defendants’ past and ongoing restraint of trade, including:

                       1)      A judicial determination declaring the rights of Plaintiffs and the Class,

                       and the corresponding responsibilities of Defendants;

                       2)      A constructive trust over any ill-gotten property or assets, including but

                       not limited to stocks in the Relevant Securities received as a result of the

                       conspiracy or agreement or other wrongful conduct as alleged herein;

             g.         Plaintiffs and the Class receive such other or further relief as may be just and

   proper.

                                           JURY TRIAL DEMANDED

                  Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of

   all the claims asserted in this Complaint so triable.

 Dated: September 22, 2021

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                                                         135
